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11                        UNITED STATES DISTRICT COURT FOR THE
                            NORTHERN DISTRICT OF CALIFORNIA
12
     ASHLEY PARHAM,                    )
13   JANE DOE, and                     )          Case No.: 3:24-cv-07191-RFL
     JOHN DOE                          )
14                                     )
                         Plaintiffs,   )
15   v.                                )          AMENDED COMPLAINT
                                       )
16                                     )
                                       )          DEMAND FOR JURY TRIAL
17   SEAN COMBS a/k/a                  )
     “P. Diddy,” “Puff Daddy,” “Love,” )
18   “Puffy” and “Diddy,”              )
     KRISTINA KHORRAM,                 )
19   SHANE PEARCE,                     )
     RUBEN VALDEZ,                     )
20   JOHN PELLETIER,                   )
     ODELL BECKHAM JR.,                )
21   DREW DESBORDES a/k/a “Druski,” )
     JACQUELYN WRIGHT a/k/a “Jaguar )
22   Wright”, HELENA HARRIS-SCOTT, )
     MATIAS GONZALEZ,                  )
23   BRANDI CUNNINGHAM,                )
     JANICE COMBS,                     )
24   KEITH LUCKS a/k/a “Big Homie CC,” )
     and JOHN and JANE DOES 1-10       )
25                                     )
                         Defendants.
26
27                            TRIGGER WARNING:
            THIS DOCUMENT CONTAINS HIGHLY GRAPHIC INFORMATION
28           OF A SEXUAL NATURE INCLUDING ALLEGATIONS OF RAPE,
             SEXUAL ASSAULT, SEXUAL BATTERY, KIDNAPPING AND SEX
                                 TRAFFICKING.
                                Page 1 of 87
 1         Plaintiff, Ashley Parham (“Parham”), John Doe and Jane Doe (“John Doe”) and
 2
     (“Jane Doe”) (together, “Plaintiffs”) files there Complaint against Defendants Sean Combs
 3
     (“Diddy”), Kristina Khorram (“KK”), Shane Pearce (“Shane”), Ruben Valdez (“Valdez”),
 4
 5   John Pelletier (“Pelletier”), Odell Beckham Jr. (“Odell”), Drew Desbordes (“Druski”),

 6   Jacquelyn Wright (“Jaguar”), Helena Harris-Scott (“Helena”), Matias Gonzalez
 7
     (“Gonzalez”), Brandi Cunningham (“Brandi”), Janice Combs (“Janice”), Keith Lucks
 8
     (“Big Homie CC”) and John and Jane Does 1-10 (“Does”) (together, “Defendants”), allege
 9
10   as follows:

11
                                         INTRODUCTION
12
        1. This case involves RICO enterprise for the purpose of sexual assault, battery, rape,
13
14         sexual abuse, false imprisonment and kidnapping for the personal and financial

15         benefit to the enterprise participants.
16      2. Defendant Diddy has been sued by countless individuals for crimes similar to the
17
           ones enumerated in this Complaint.
18
19
        3. Defendant Diddy is currently a federal inmate awaiting criminal trial for crimes

20         similar to the ones enumerated in this Complaint.
21      4. Defendant KK is an employee of Defendant Diddy often referred to by Defendant
22
           Diddy as his right-hand woman.
23
        5. Defendant Diddy’s predatory behavior was constant and was well known by several
24
25         individuals including Defendant Diddy’s employees, staff, friends, family and
26         associates. In fact, Defendant Diddy’s sons are being sued for engaging in the same
27
28

                                         Page 2 of 87
 1             type of deviant behavior as their father as plead in a Los Angeles Superior Court
 2
               filing.1
 3
           6. Defendant Diddy was able to effectuate his crimes and evade capture and
 4
 5             prosecution for his crimes for almost 30 years due to his position of power and

 6             influence in the entertainment industry. Defendant Diddy exploited his position and
 7
               his relationships with powerful individuals to force sexual acts through exploitation,
 8
               fear, manipulation, physical threats, emotional abuse, intimidation and retaliation.
 9

10         7. Had any of the previous victims of Defendant Diddy been taken seriously or had

11             any of the abettors reported Defendant Diddy9s actions to law enforcement,
12             Defendant Diddy9s illegal and unfathomable behavior could have been prevented.
13
               Instead, Defendant Diddy was able to reign his abuse and terrorism on countless
14

15
               victims for over 30 years.

16         8. Additionally, had Defendant Diddy9s numerous business partners and associates not
17             ignored Defendant Diddy9s deviant behavior, Defendant Diddy would have been
18
               unable to continue his pattern of abuse over such a long period of time.
19
           9. As alleged herein, Defendant Diddy abused his position of power in the
20

21             entertainment industry to garner loyalty and trust from the public at large, and law
22             enforcement, while instilling fear and intimidation in the hearts of his voluminous
23
               victims. Allegations against Defendant Diddy have been disregarded for decades
24
               therefore creating a failure to protect victims, like the Plaintiffs named herein.
25
26

27

28   1
         Case number 24-ST-CV-08571


                                             Page 3 of 87
 1   10. Unlike most victims of Defendant Diddy, who were employees, sex workers, or
 2
        individuals seeking out Defendant to help launch their careers, Plaintiff Parham
 3
        does not fall into any of those categories. Plaintiff Parham met Defendant Diddy due
 4
 5      to happenstance and still ended up being brutally victimized, in a similar manner as

 6      described by the others who have proceeded her filing and others who surely will
 7
        follow including Plaintiff Does herein.
 8
     11. Plaintiffs John and Jane Doe met with Defendant Diddy through their connections in
 9

10      the music industry as Plaintiff John Doe was a previous Plaintiff against Michael

11      Jackson for sexual assault as a minor.
12
     12. Due to Defendants agreement to participate in a corrupt enterprise, Plaintiffs and
13
        countless other victims have been immeasurably and permanently harmed. Plaintiffs
14

15
        allege as follows upon personal knowledge as to themselves and their own acts and

16      experience, and, as to all other matters, upon information and belief, including
17      investigations conducted by their attorneys.
18
                                           PARTIES
19
     13. Plaintiff Ashley Parham is an individual who resides in and is domiciled in
20
        California.
21

22   14. Plaintiff John Doe is an individual who is domiciled in Nevada and resides in
23      another state purposefully to protect his safety and identity.
24
     15. Plaintiff Jane Doe is an individual who is domiciled in Nevada and resides in
25
        another state purposefully to protect her safety and identity.
26

27

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                                      Page 4 of 87
 1   16. Defendant Sean Combs (Defendant <Diddy=) is an individual who resides in and is
 2
        domiciled in California. Defendant also owns a residence in Florida. However,
 3
        Defendant Diddy is currently an inmate at MDC in Brooklyn, NY.
 4
 5

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10
11   17. Defendant Kristina Khorram (Defendant <KK=) is an individual who, upon
12
        information and belief, resides in and is domiciled in either California or North
13
        Carolina.
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     18. Defendant Shane Pearce (Defendant <Shane=) is an individual who resides in and is
23
        domiciled in California.
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                                     Page 5 of 87
 1   19. Defendant Ruben Lira Valdes (Defendant <Valdez=) is an individual who resides in
 2
        and is domiciled in California.
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10   20. Defendant John Lawrence Pelletier (Defendant <Pelletier=) is an individual who
11
        resides in and is domiciled in Nevada or Hawaii.
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19   21. Defendant Odell Beckham Jr. (Defendant <Odell=) is an individual who resides in
20
        and is domiciled in Florida (previously referred to as John Doe in Plaintiff Parham9s
21
        original complaint).
22
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                                     Page 6 of 87
 1   22. Defendant Drew Desbordes (Defendant <Druski=) is an individual, who upon
 2
        information and belief, resides in and is domiciled in either Maryland or Georgia
 3
        (previously referred to as John Doe in Plaintiff Parham9s original complaint).
 4
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11   23. Defendant Jacquelyn Wright (Defendant <Jaguar=) is an individual, who upon
12
        information and belief, resides in and is domiciled in California or Nevada.
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20   24. Defendant Helena Harris-Scott (Defendant <Helena=) is an individual, who upon
21      information and belief, resides in and is domiciled in California.
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                                     Page 7 of 87
 1   25. Defendant Matias Gonzalez (Defendant <Gonzalez=) is an individual, who upon
 2
        information and belief, resides in and is domiciled in Nevada.
 3
     26. Defendant Brandi Cloninger Cunningham (Defendant <Brandi=) is an individual
 4
 5      who upon information and belief resides in and is domiciled in Arkansas (previously

 6      referred to as Jane Doe in Plaintiff Parham9s original complaint).
 7
 8

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11

12
     27. Defendant Janice Combs (Defendant <Janice=) is an individual who resides and is
13
14      domiciled in Florida.

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17

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20
     28. Defendant Keith Lucks (Defendant <Big Homie CC=) is an individual who, upon
21

22      information and belief, resides and is domiciled in Nevada.
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                                     Page 8 of 87
 1    29. Defendant John and Jane Does 1-10 (Defendant <Does 1-10=) are individuals who,
 2
         upon information and belief, reside in and are domiciled in various states but mainly
 3
         California.
 4
 5
     JURISDICTION, VENUE, TIMELINESS AND CALIFORNIA9S SEXUAL ABUSE
 6                  AND COVER-UP ACCOUNTABILITY ACT

 7    30. This Court has federal question jurisdiction under 28 U.S.C. § 1331 and

 8       supplemental jurisdiction under 28 U.S.C. § 1367 for the State law claims alleged.
 9
      31. This Court has personal jurisdiction over all Defendants because they have
10
         purposely availed themselves, are residents of the State and/or were conducting
11

12       business in California and this lawsuit arises out of acts that occurred in California

13       and relates to their contacts with California. Further, the pervasive culture of abuse,
14       including sexual assault, rape, inappropriate touching and wielding power and
15
         control over Plaintiffs were a constant presence when Defendant Diddy and the
16
17
         other herein named Defendants engaged in the acts described herein. The location of

18       all the relevant events herein alleged occurred within the jurisdiction of California.
19    32. Plaintiffs were harmed and injured in California by Defendants.
20
      33. Venue is proper in this judicial district under 28 U.S.C. § 1391, (b)3(c). Further,
21
         venue is proper in this judicial district pursuant to 18 U.S.C. §1965.
22
23    34. This action is timely under Federal Racketeering Influenced and Corrupt
24       Organization Act (RICO), 18 U.S.C. 1961 et seq., as the Diddy Sexual Abuse and
25
         Cover Up Enterprise fraudulently concealed the ongoing sexual and deceitful
26
         activity, torts and conspiracy taking place within the Diddy Sexual Abuse and Cover
27

28       Up and Enterprise.

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 1      35. This action is also timely under California9s Sexual Abuse and Cover Up
 2
           Accountability Act. California9s Sexual Abuse and Cover Up Accountability Act
 3
            (AB-2777) amended California Civil Procedure Section 340.16, extending the
 4
 5         statute of limitations, opening up revival windows for adult survivors of sexual

 6         assault and related claims and acknowledging that a <two-year statute of limitations
 7
           simply does not provide sexual assault survivors adequate time to heal from the
 8
           physical and emotional trauma of a sexual assault and prepare for a civil case.=
 9

10         California Bill Analysis, A.B. 2777 Assem., 6/14/2022.

11                (g) When the perpetrator is someone a victim trusts, it can take years for the
12                victim even to identify what happened to them as a sexual assault.

13                (h) For these reasons, it is self-evident that the unique nature of the emotional
                  and psychological consequences of sexual assault, especially on women, can
14                paradoxically permit wrongdoers to escape civil 26 accountability unless
15                statutes of limitation are crafted to prevent this injustice from occurring.

16                (i) Moreover, when these data are combined with widespread news reports of
                  major companies being accused of covering up sexual assaults by their
17                employees it is self-evident that statutes of limitation for sexual assault need
                  to be crafted in a way that does not cause the covering-up company to enjoy
18
                  the fruits of their cover-up solely because our statutes of limitation permit,
19                and thus motivate, such behavior.
20   Section 340.16(Sec. 2)(g3i).
21
        36. Defendants9 fraudulent concealment through active attempts of cover up caused the
22
           ongoing trauma Plaintiffs suffer. Plaintiff Parham had repressed her experience until
23

24         recently when Defendant Diddy was accused by his ex-girlfriend, former employee
25         Cassie Ventura, and others regarding their experiences with Defendant Diddy.
26
           Accessing the civil justice system allows victim-survivors an opportunity to seek
27
           accountability for the years of suffering caused by the abuse they experienced and a
28

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 1      chance to take back the power they lost as a result of the sexual assault. Plaintiffs
 2
        John and Jane Doe have been paralyzed in fear, have had to change their names and
 3
        frequently move from their residences for fear of being rekidnapped, raped, abused
 4
 5      and assaulted by Defendants herein. Plaintiff Does hereby invoke a pseudonym to

 6      protect their lives from the long reach of the Diddy Sexual Abuse and Cover Up and
 7
        Enterprise.
 8
     37. Additionally, any statute of limitations applicable to the below claims, if any, is
 9

10      tolled and Defendants are estopped from raising such a defense as their actions
11      described below deprived Plaintiff of the opportunity to commence this lawsuit
12
        before now, as well as other equitable and legal bases.
13
14             FACTUAL ALLEGATIONS COMMON TO ALL COUNTS

15                                     (Plaintiff Parham)
16
     38. Plaintiff met Defendant Shane in February 2018, after an altercation with another
17

18      man at a bar and Defendant Shane came to Plaintiff9s rescue.

19
     39. While outside the bar, with friends and other patrons, Defendant Shane Facetime
20

21      video called Defendant Diddy and was showing people Defendant Diddy in the

22      video on his phone, attempting to impress the people with his famous friend.
23
     40. Defendant Shane then showed Plaintiff Defendant Diddy on his video call, which
24

25      Plaintiff ignored, stating she was not impressed by him knowing Defendant Diddy

26      because she believed Defendant Diddy had something to do with the murder of
27
        rapper Tupac Shakur.
28

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 1   41. Visible in the Facetime call was Defendant Diddy, and some of his children
 2
        including his sons Christian and Quincy. It appeared from the Plaintiff9s perspective
 3
        Defendant Diddy was having a <get together= at his home during the time of the
 4
 5      Facetime call with Defendant Shane.

 6
     42. Defendant Diddy heard Plaintiff9s statement and made a remark that Plaintiff would
 7
        <pay= for her statement regarding Tupac and overall dismissal of Defendant Diddy.
 8

 9
     43. On March 23, 2018, Defendant Shane invited Plaintiff over to his home to assist
10
        him with his cancer medications because he stated he was weak and unable to open
11

12      his medications.

13
     44. Upon Plaintiff9s arrival, Defendant Shane informed Plaintiff that he wanted to give
14

15
        her a ride in his new car. Plaintiff and Defendant Shane left his residence for a brief

16      period and then returned.
17
     45. Once they returned, Defendant Shane left the door to his apartment partially open
18

19      and stated that the door was ajar because there was an issue with the door where it

20      couldn9t close completely.
21

22   46. Defendant Shane was renting an apartment on the lower floor of a home in Orinda,

23      California.
24
     47. Defendant Shane had a separate entrance into his residence that led to the backyard
25
26      of the home. The home also had a main entrance on Loma Vista Drive.
27

28

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 1   48. Defendant Shane rented the home from a woman who lived in the upstairs portion
 2
        of the home and had two dogs who resided with her.
 3

 4   49. Plaintiff and Defendant Shane then began to watch a movie and Defendant Shane
 5      offered her a glass of water, which he retrieved and brought back to Plaintiff.
 6

 7   50. Approximately ten minutes after Plaintiff and Defendant Shane returned from their

 8      drive, Defendant Diddy entered Defendant Shane9s residence.
 9

10   51. Defendant Diddy entered the home in a grand <ready to party= manner. His

11      grandiose entrance was so loud that the dogs upstairs began barking.
12
     52. Defendant Diddy did not enter the home through the backyard entrance but instead
13
14      through the main entrance.
15
     53. Along with Defendant Diddy were his bodyguard Defendant Big Homie CC,
16
17      Defendant KK, Defendant Brandi, Defendant Doe 2 who upon information and

18      belief is a friend of Defendants Shane and Diddy and Defendant Diddy9s driver,
19
        Doe 3, who remained outside and in his vehicle during the duration of Plaintiff9s
20
        assault.
21

22   54. Plaintiff believes Defendant Shane invited her over to <set her up= to be assaulted
23
        by Defendant Diddy because of the statement she made about Defendant Diddy a
24
        month prior.
25
26
     55. Upon Defendant Diddy9s arrival he immediately began to antagonize the Plaintiff
27
        stating that <she thought she would never see him in person,= <pay= for her
28

                                     Page 13 of 87
 1      statements about Tupac during the videocall and that Defendant Diddy <caught=
 2
        Plaintiff.
 3

 4   56. Plaintiff was in shock as she never believed that she would ever see or meet
 5      Defendant Diddy in real life let alone in the small apartment rented by Defendant
 6
        Shane.
 7
 8   57. Defendant Diddy then began advancing towards where Plaintiff was sitting on
 9
        Defendant Shane9s bed with a knife and held it to the right side of Plaintiff9s face
10
        and threatened to give her a <Glasgow smile= in retaliation for her previous
11

12      statements on the video call.

13
     58. Defendant KK told Defendant Diddy that she did not think giving Plaintiff a
14

15
        <Glasgow smile= would be advantageous to their potential clients who they could

16      <sell= Plaintiff for sex to.
17
     59. Defendant KK then made a threat to Plaintiff that they could ship her off anywhere
18

19      in the world and that she would never see her family or anyone she knew ever again.

20
     60. Defendant Shane then partially undressed Plaintiff then Defendant Diddy removed
21

22      the remainder of Plaintiff9s clothing, removing the knife from her face and then

23      retrieved a bottle of liquid from a large fanny pack.
24
     61. Defendant Diddy then squirted a bottle of liquid on Plaintiff which placed her in
25
26      fear that she was being squirted with a chemical substance like acid. Plaintiff soon
27

28

                                       Page 14 of 87
 1           realized the substance was an oil/lubricant. Plaintiff was squirted with this liquid
 2
             substance over the entirety of her naked body.
 3

 4       62. Defendant KK was then told by Defendant Diddy to insert, what looked like a
 5           <syringe= from sterile packaging, into Plaintiff9s vagina.
 6

 7       63. Defendant KK did as told, while assisted by Defendant Brandi,2 and then told

 8           Defendant Diddy that they were unable to use the <IUD= because it had prematurely
 9
             been released from its packaging.
10
11       64. Defendant Diddy, upset by this, took the <syringe= from Defendant KK and tried
12
             inserting it in Plaintiff9s vagina instead.
13
14       65. Defendant KK and Diddy began to argue as Defendant KK continued to advise
15           Defendant Diddy that since the <IUD= had been prematurely released from its
16
             packaging it was no way they could insert it into Plaintiff9s vagina effectively. After
17
             some time, Defendant Diddy heeded the advice of Defendant KK and removed the
18

19           syringe from Plaintiff9s vagina and handed it to Defendant KK.

20
         66. Defendants KK and Defendant Brandi then exited Defendant Shane9s residence
21

22           leaving Plaintiff alone with Defendants Diddy, Shane and John Does who have been

23           named herein.
24
         67. Defendant Diddy then picked up a television remote that was near Plaintiff and
25
26           violently inserted it into Plaintiff9s vagina.
27
     2
28     Plaintiff, upon information and belief, believe Defendant Brandi to be a registered nurse with the NCSBN ID:
     22517094.

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 1   68. Defendant Diddy, while violently raping Plaintiff with a television remote, told
 2
        Plaintiff that her life was in his hands and that if he wanted he could <take her= and
 3
        she would never be seen again.
 4
 5   69. Plaintiff began hysterically crying from the threats by Defendant Diddy along with
 6
        the pain of being violently vaginally raped by Defendant Diddy with the television
 7
        remote as well as the lingering pain from the ordeal with the <IUD= syringe
 8

 9      insertion.
10
     70. Defendant Diddy, then instructed Defendant Shane to turn Plaintiff on her stomach
11

12      seemingly tired of hearing the Plaintiff9s blood curdling cries.

13
     71. Defendant Shane then grabbed Plaintiff by her abdomen and hips and turned
14

15
        Plaintiff on her stomach. Defendant Diddy then instructed Defendant Shane to put a

16      pillow over her head because he didn9t want to see her face or hear her cries and
17      instructed Defendant Shane to anally rape Plaintiff.
18

19   72. Defendant Shane did as he was told by Defendant Diddy and began to anally rape

20      Plaintiff.
21

22   73. Defendant Diddy then violently raped Plaintiff anally after Defendant Shane.

23
     74. Defendant Doe 2 then joined Defendants Diddy and Shane taking a turn anally
24
        raping Plaintiff.
25
26
     75. Immediately after Defendant Doe 2 raped Plaintiff he exited Defendant Shane9s
27
        residence.
28

                                     Page 16 of 87
 1   76. Defendant Diddy then instructed another Defendant Doe to also rape Plaintiff;
 2
        Defendant Doe has been determined to be Defendant Druski.
 3

 4   77. Instead of immediately raping Plaintiff, Defendant Druski doused Plaintiff with
 5      more oil/lubricant and then jumped on top of Plaintiff9s naked and oiled body
 6
        treating it like a slip and slide and knocking the wind out of Plaintiff due to his
 7
        enormous size.
 8

 9
     78. Defendant Druski then caught himself from sliding over Plaintiff9s oiled body and
10
        off the bed, he then began raping Plaintiff vaginally.
11

12
     79. While Defendant Druski was raping Plaintiff, Defendant Diddy sat in a chair near
13
        the bed and began masturbating while recording Plaintiff9s rape by Defendant
14

15
        Druski.

16
     80. Another party9s phone fell on the bed near Plaintiff. Plaintiff then attempted to grab
17
        the phone but it slipped out of her hands and onto the floor due to the oil/lubricant
18

19      that had been doused all over her person by Defendants Diddy and Druski.

20
     81. Defendant Diddy began laughing at Plaintiff9s attempt to grab the phone.
21

22   82. Throughout this violent gang rape Defendant Diddy made constant belittling
23
        remarks to Plaintiff including that he <owned her now.=
24

25   83. At some point during this ordeal, Plaintiff remembers Defendants referring to
26
        another Defendant Doe as Cornelius and remembered the name because it was so
27

28

                                     Page 17 of 87
 1      odd and unique. Plaintiff has come to discover the Defendant Doe Cornelius who
 2
        raped her was Defendant Odell.
 3

 4   84. Plaintiff9s body was becoming more and more limp over the course of the violent
 5      rape until eventually she had no control over her body nor could she move her body.
 6

 7   85. When Defendant Druski finished raping Plaintiff, Defendant KK entered the room

 8      to examine the condition of Plaintiff who was barely able to move or control her
 9
        bodily functions.
10
11   86. Defendant KK examined Plaintiff to see if she needed assistance and was about to
12
        give Plaintiff an IV fluid. Plaintiff cannot be certain is she did or did not receive
13
        such intravenous intervention. Defendant KK then opened a different bag, different
14

15
        than the one Defendant Diddy removed the oil from, where Plaintiff observed

16      several medicine bottles, IV fluid bags and other unidentifiable powder-like drugs.
17      Defendant KK then removed a pill from one of the medicine bottles and gave it to
18
        Defendant Diddy.
19
20   87. Defendant Diddy then inserted the pill into Plaintiff9s mouth and down her throat to
21
        where Plaintiff had no choice but to ingest the unknown pill.
22
23   88. Defendants Diddy, Shane, KK, Odell and Druski then exited the residence to the
24
        backyard where they smoked marijuana and cigarettes.
25
26   89. Plaintiff remained in an almost lifeless state in Defendant Shane9s bedroom until she
27      finally regained her bodily functions.
28

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 1   90. Plaintiff then began looking for her clothes and her purse, that contained her car
 2
        keys and cell phone, but could not discover them in the room or anywhere in the
 3
        apartment. Plaintiff was only able to find a t-shirt on the floor which she put on to
 4
 5      cover her naked body. Plaintiff also observed a black condom wrapper on the floor

 6      of the bedroom which she assumed was used by one of the Defendants, most likely
 7
        Defendant Diddy, during the rape.
 8

 9   91. Plaintiff then found a knife, with the assistance of the Doe Plaintiffs, and headed to
10      the backyard where the Defendants were smoking as that was the only way to exit
11
        the premises onto the street.
12

13   92. Plaintiff concealed the knife on her left side as she exited the apartment to the
14
        backyard area.
15

16   93. Upon coming to the exit of the home which led to the backyard, Plaintiff was met by
17      Defendant Big Homie CC who was standing at the door between the residence and
18
        the backyard.
19
20   94. By the time Plaintiff was able to compose herself and come to the backyard,
21
        Defendant KK was no longer in the backyard but upstairs on the patio/balcony with
22
        Defendant Brandi.
23

24
     95. Defendant Doe allowed Plaintiff to walk to the backyard where Defendants were
25
        still smoking.
26

27

28

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 1   96. Defendant Doe did not see the knife that Plaintiff concealed on her left side as it was
 2
        obstructed by the oversize t-shirt Plaintiff was wearing.
 3

 4   97. Plaintiff observed Defendant Diddy still partially nude from the assault while the
 5      other Defendants had on their clothing.
 6

 7   98. Defendant Shane then left to the upstairs portion of the patio/balcony where

 8      Defendants KK and Brandi were already situated.
 9

10   99. Plaintiff then sat down on a makeshift seat in the backyard when Defendant Diddy

11      noticed her presence and remarked that he was surprised she was able to walk
12
        because he had given her <enough drugs to take out a horse.=
13
14   100.      Plaintiff then asked Defendant Diddy what he gave her and he laughed and
15      did not provide a response.
16
17   101.      Defendant Diddy then made further comments to Plaintiff in a jovial,

18      friendly, manner asking her why they hadn9t <partied= together before because it
19
        was <so much fun= and he <hadn9t had any ass that tight in a while.=
20

21   102.      Defendant Big Homie CC then quipped at Defendant Diddy that he probably
22      hadn9t had any <ass that tight= because he9s not used to having anal sex with
23
        women, which Defendants Diddy and Doe laughed at.
24

25   103.      Plaintiff then told Defendant Diddy she did not party with him and she did
26
        not enjoy partying with him and that he raped her.
27

28

                                      Page 20 of 87
 1   104.      Defendant Diddy did not like Plaintiff9s response to his lighthearted
 2
        commentary and offered Plaintiff money and instructed Plaintiff to say that the
 3
        violent rape was consensual and that Plaintiff was a sex worker.
 4
 5   105.      Plaintiff became enraged and yelled at Defendant Diddy that her rape was not
 6
        consensual, she was not a sex worker and she refused to take any money from him
 7
        and would tell the police that he had raped her.
 8

 9
     106.      Defendant Diddy then told Plaintiff no one would ever believe she had been
10
        raped by him and if she did tell anyone such that they would harm her family.
11

12
     107.      Defendant Big Homie CC then showed Plaintiff his phone which looked as if
13
        it was the outside of Plaintiff9s, estranged, sister9s residence as she could see her
14

15
        sister sitting on the couch and her sister9s spouse on the balcony. It looked as if

16      someone was outside the residence streaming this video to Defendant Big Homie
17      CC9s phone.
18

19   108.      Plaintiff, while rattled by what she was seeing on Defendant Big Homie CC9s

20      phone, was still angry about being gang raped and was not complying with
21
        Defendant Diddy9s request to take the money being offered to say the rape was
22
        consensual.
23

24
     109.      Defendant Diddy then called Defendant Janice in an effort to further
25
        convince Plaintiff not to report her assault. Defendant Janice yelled at Plaintiff to
26

27      not hurt her son. Plaintiff told Defendant Janice that her son had violently raped

28      Plaintiff. Defendant Janice, seemingly unphased by the statement, then continued

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 1      her demands with Plaintiff to take the money being offered and not report the rape
 2
        to law enforcement.
 3

 4   110.      Defendant Diddy then made further threats that he had gotten off from bigger
 5      crimes than this and referred to Tupac again further antagonizing Plaintiff.
 6

 7   111.      Defendant Big Homie CC then turned to Defendant Diddy and pulled his gun

 8      on him asking him to repeat what he said in reference to Tupac.
 9

10   112.      As the two of them were exchanging words Plaintiff went behind Defendant

11      Big Homie CC where he seemingly began to protect Plaintiff.
12
     113.      Defendant Big Homie CC then advanced to Defendant Diddy questioning
13
14      him over the comments he made about Tupac.
15
     114.      During this commotion, a neighbor directly across the street, came outside
16
17      and peered into the backyard and asked what all the commotion was about.

18      Defendant Big Homie CC then pointed the gun at the neighbor and instructed him to
19
        mind his business and return to his residence.
20

21   115.      Defendant Big Homie CC then turned the gun back on Defendant Diddy.
22      Plaintiff, not far behind Defendant Big Homie CC , tried to grab Defendant Big
23
        Homie CC9s hand that had the gun. The gun then went off and hit a hill behind
24
        Defendant Shane9s residence.
25
26
     116.      Defendant Diddy then ran up the back stone stairs, near the hill in the
27
        backyard, towards where Defendants KK, Shane and Brandi were. Plaintiff charged
28

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 1      towards Defendant Diddy moving the concealed knife from her left hand to her right
 2
        hand and in pursuit of Defendant Diddy.
 3

 4   117.      Plaintiff then pushed Defendant Diddy from behind, while on the stone stairs
 5      outside, causing him to fall with his back to Plaintiff.
 6

 7   118.      Plaintiff then raised the knife, in a rage from the events that just transpired

 8      and with the intent of driving the knife into Defendant Diddy9s back, when he
 9
        turned around and began pleading for his life.
10
11   119.      Plaintiff, shocked now to see Defendant Diddy acting as a victim had a
12
        moment of clarity and then turned and ran down the outdoor stone staircase back out
13
        to the backyard to escape.
14

15   120.      Defendant Diddy then chased Plaintiff down the stairs and attempted to push
16
        her but she was already at the bottom of the stairs and gained her footing and
17
        wielded the knife at Defendant Diddy grazing his abdomen.
18

19
     121.      Hearing the commotion, Defendants KK and Brandi emerged and Defendant
20
        KK then began administering first aid to Defendant Diddy for the injuries caused by
21

22      Plaintiff.

23
     122.      Plaintiff, tried to make quick dash for the exit but it was thwarted by another
24
        Defendant Doe. After a period of time, Plaintiff was able to abscond from
25
26      Defendant Doe due to the first aid commotion with Defendant Diddy and was able
27      to run down the street.
28

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 1   123.      Once Plaintiff made it on to the street she began yelling loudly for someone
 2
        to call the police.
 3

 4   124.      Defendant Doe, who had now caught up with Plaintiff, advised Plaintiff that
 5      he was an undercover cop. To this day Plaintiff is unsure of the truth or falsity of
 6
        that statement.
 7
 8   125.      The same neighbor then again emerged from his residence asking what was
 9
        transpiring. Just as Plaintiff was attempting to answer, gun shots began being fired
10
        in Plaintiff9s direction.
11

12
     126.      Plaintiff fled to a car near where the neighbor was also taking cover and lost
13
        sight of Defendant Doe.
14

15   127.      Plaintiff then heard a SUV screeching and speeding leaving the residence.
16
17   128.      Plaintiff then entered the home of the neighbor who informed her that he had

18      already called police.
19
20
     129.      Plaintiff informed the neighbor that it was Sean Combs who had raped her

21      and shot at them but the neighbor was unaware who Defendant Diddy was.
22
     130.      Shortly thereafter a Sheriff from the Contra Costa Sheriff9s Department
23

24      arrived at the neighbor9s home.

25
     131.      Plaintiff identified the person who arrived at the neighbor9s home posing as a
26

27      Contra Costa Sheriff was Defendant Pelletier.

28

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 1   132.      Plaintiff told Defendant Pelletier, believing he was a Sheriff from local
 2
        police, she had been violently gang raped by Defendant Diddy and others and that
 3
        she did not have her clothes, phone, purse, car keys or cell phone.
 4
 5   133.      Defendant Pelletier, falsely posing as a Contra Costa Sheriff, told Plaintiff
 6
        and the neighbor that they had received several noise complaints prior to the
 7
        neighbor9s call and instructed Plaintiff to find a way to get home. The <Sheriff,=
 8

 9      Defendant Pelletier, did not offer to take Plaintiff home, nor did he call for
10      emergency services including an ambulance, nor any offer to take Plaintiff to the
11
        hospital, nor any offer to help Plaintiff recover her clothes or effects from Defendant
12
        Shane9s residence.
13
14
     134.      The Contra Costa Sheriffs have confirmed that a police report was made that
15
        night by Plaintiff Parham.
16
17   135.      The Contra Costa Sheriffs have refused to release any information related to
18
        the complaint on the night in question to any source despite numerous attempts
19
20
        made via Freedom of Information Act.

21
     136.      Plaintiff observed Defendant Pelletier hand something to the neighbor, what
22
        looked to be an envelope, at the door as Defendant Pelletier exited. The neighbor
23

24      went to a nearby room and quickly returned empty-handed. Plaintiff believes the

25      envelope contained cash.
26

27   137.      The neighbor offered to let Plaintiff sleep on his couch until she could figure

28      out a way to get her possessions and get home, but Plaintiff declined, uneasy and

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 1      unsure about the exchange with police and the neighbor and police, and only
 2
        remained at the neighbor9s residence for a short period of time once Defendant
 3
        Pelletier, posing as Contra Costa law enforcement, left.
 4
 5   138.       Plaintiff then went back to Defendant Shane9s residence where she found the
 6
        door open and her clothes were readily accessible in his residence.
 7
 8   139.       Defendant Shane then emerged as if nothing had transpired and offered for
 9
        Plaintiff to stay at his residence while she <slept it off.=
10
11   140.       Plaintiff asked for her purse and her keys but Defendant Shane told her she
12
        shouldn9t leave in her condition and Plaintiff, catatonic and in the state of shock and
13
        disbelief of the events that transpired, stayed at Defendant Shane9s home while
14

15
        Defendant Shane left the home.

16
     141.       Later that morning, Defendant Shane returned to the residence and woke
17
        Plaintiff up and finally gave her back her purse, cell phone and keys and Plaintiff
18

19      left Defendant9s residence.

20
     142.       In a daze, Plaintiff returned home and tried to make sense out of what
21

22      happened to her.

23
     143.       On March 26, 2018, Plaintiff contacted her primary care doctor and asked for
24
        an HIV and STD test in fear of possibly having contracted a disease from her violent
25
26      rape.
27

28

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 1   144.      Plaintiff tried to continue her life as she felt she wouldn9t be believed as
 2
        Plaintiff already had told what she believed to be Contra Costa Sheriffs Defendant
 3
        Diddy raped her to no avail. Further, Plaintiff was under the impression if she did
 4
 5      continue to say Defendant Diddy9s name in relation to her assault she would not be

 6      believed and her family would be in danger.
 7
     145.      Seemingly mere days, maybe even the day before Plaintiff9s vicious rape,
 8

 9      Defendant Shane had miraculously began driving a new car. Plaintiff believes this
10      was payment by Defendant Diddy for setting up Plaintiff to be raped.
11

12   146.      Plaintiff went to the hospital where the hospital conducted several tests on

13      Plaintiff including a rape kit, ultrasound and x-rays. Additionally, Plaintiff was
14
        given IV fluids to stabilize her vitals as she was in a severe weakened state from
15
        being unable to eat and losing a substantial amount of weight since the rape
16
17      occurred.

18
     147.      While at the hospital, Plaintiff told members of her treatment team about her
19
20
        horrific assault and they then contacted the Walnut Creek Police.

21
     148.      Walnut Creek Police showed up to Plaintiff9s hospital room and took a
22
        statement regarding her assault. Plaintiff only told Walnut Creek Police about the
23

24      assault from Defendants Shane and Doe.

25
     149.      Plaintiff believes her statements made to Walnut Creek police, while at the
26

27      hospital, was captured by police body camera footage.

28

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 1   150.      Plaintiff further believes her statements made on March 23rd immediately
 2
        after the vicious assault, where Plaintiff named Defendant Diddy directly and by
 3
        name, may be captured by body camera footage but upon determining the Sheriff
 4
 5      was Defendant Pelletier does not believe it was captured as he was a co-conspirator.

 6
     151.      Plaintiff filed a report to the Orinda Police Department on April 17, 2018, but
 7
        was too afraid to name Defendant Diddy as one of her assailants. During this report
 8

 9      Plaintiff provided her clothing to the police from the night of the assault but they
10      only retained her underwear. To date, the underwear was never returned and
11
        Plaintiff believes no investigation ever commenced.
12

13   152.      Plaintiff sought assistance from therapists in May 2018, one of which tried to
14
        have her therapy appointments covered by a victim9s compensation fund which was
15
        rejected because Plaintiff was told no law enforcement agency had opened an active
16
17      investigation into any of her many reports of her violent gang rape.

18
     153.      Subsequently thereafter, Plaintiff asked police for a copy of her report from
19
20
        the Walnut Creek Police Department. On July 19, 2018, Plaintiff was provided a

21      letter from the Walnut Creek Police Department stating that it was <unable to
22      furnish this information as it is confidential and not subject to public release=
23
        despite Plaintiff not being the public and the victim/complainant.
24

25   154.      In March 2024, Plaintiff was retraumatized by all of the events surrounding
26
        Defendant Diddy including the several civil complaints filed against him as well as
27
        the raid on Defendant Diddy9s California and Florida residences.
28

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 1   155.      Plaintiff called Contra Costa Sheriff9s again in hopes of renewing her
 2
        previous complaint and amending it to ensure Defendant Diddy9s name was
 3
        included. Plaintiff received no response from the Sheriff.
 4
 5   156.      Plaintiff, in July 2024, then emailed the Chief of the Sheriff9s office
 6
        regarding her complaint, lack of investigation and how she was treated by the initial
 7
        responding officer. Plaintiff, then later received a call back from a Detective but
 8

 9      then nothing further.
10
     157.      Plaintiff then began seeking legal counsel for her claims ultimately being
11

12      referred to undersign for representation.

13
     158.      Undersign counsel also attempted to get a copy of the 2018 police report
14

15
        from Contra Costa Sheriff9s but was told that they would not provide the report or

16      any other information without a subpoena.
17
                                (Plaintiffs John and Jane Does)
18

19
     159.      Plaintiffs John and Jane Does are mother and son.
20

21   160.      Plaintiffs were taken from their Las Vegas residence by Defendant Pelletier
22      as they walked to their vehicle.
23

24   161.      Defendant Pelletier put a gun to Plaintiff John Doe9s back and instructed him

25      to get into a black SUV regarding extraditing Plaintiffs for warrants to California.
26

27

28

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 1   162.      Plaintiffs did not have any warrants, nor convictions. Plaintiffs demanded to
 2
        be shown the warrants and Defendant Pelletier refused and threatened to shoot
 3
        Plaintiffs if they protested further.
 4
 5   163.      In the back of the black SUV was Defendant Valdez. Defendant was
 6
        unknown to Plaintiffs at the time. Defendant was dressed in dark clothes and
 7
        instructed Plaintiffs not to look at him.
 8

 9
     164.      Plaintiffs were then transported to what they believe was Defendant
10
        Pelletier9s residence at 8025 Chablis Bay St., Las Vegas.
11

12
     165.      Plaintiffs were ordered inside and brought into the living room and forced to
13
        sit on the couch and were physically restrained.
14

15   166.      Plaintiffs demanded to speak to their attorney which was refused, ignored or
16
        met with threats of violence. It became obvious to Plaintiffs that this was not a legal
17
        arrest, and that Pelletier was acting outside of color of law.
18

19
     167.      At some point thereafter Plaintiffs were ordered back of a large black SUV.
20

21   168.      Defendant Gonzalez was given the keys to Plaintiffs vehicle, a SUV, to
22      follow behind the SUV.
23

24   169.      Defendants Gonzalez and Pelletier had a list, which upon information and

25      belief was a list of <safe houses= which they could allow parties a safe respite,
26
        undetected.
27

28

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 1   170.      Defendant Pelletier appeared to be in charge and he and Defendant Valdez
 2
        were both giving out orders to the other co-conspirator Defendants.
 3

 4   171.      Plaintiffs overhear repeated conversations, in the vehicle while being
 5      kidnapped and transported, about <following protocol= made by Defendant Pelletier
 6
        to others.
 7
 8   172.      Upon information and belief, this <protocol= was agreed upon codes,
 9
        including the use of communication apps like WhatsApp and/or SnapChat, satellite
10
        phones and referring to other co-conspirator Defendants by their middle names.
11

12
     173.      It was apparent to Plaintiffs this was a professional operation/syndicate.
13
14   174.      Plaintiffs were then trafficked from Las Vegas, NV to various locations
15      throughout California.
16
17   175.      The first location Plaintiffs were able to identify was in Danville, CA.

18
     176.      In the convoy with the SUV Plaintiffs were placed in also included Plaintiffs
19
20
        SUV that was driven by Defendant Gonzalez.

21
     177.      Upon information and belief, Defendant KK was in another SUV part of the
22
        convoy.
23

24
     178.      At some point Defendant Gonzalez complained he had trouble keeping up
25
        with the convoy of black SUVs because the SUV ran poorly.
26

27

28

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 1   179.        Plaintiffs allege the convoy drive was for numerous hours but the exact time
 2
        was uncertain as they were unable to keep adequate track of time.
 3

 4   180.        The next location Plaintiffs were taken among the <safe houses= on their
 5      route to an unknown destination was 323 Monte Albers Way, Danville, CA 94506.
 6

 7   181.        Plaintiffs heard some altercation with the owners of the home not wanting to

 8      be involved with Defendants scheme. Plaintiffs attempted to plead to the owners for
 9
        help and could not understand why they wouldn9t heed Plaintiffs cries for help.
10
11   182.        Plaintiffs heard the owners speak a foreign language which they believe was
12
        Farsi.
13
14   183.        Upon information and belief, this location was approximately twenty miles
15      from the home in Orinda where Plaintiff Parham was assaulted.
16
17   184.        During the transportation of Plaintiffs across state lines, they were given

18      water to drink, which Plaintiffs believe was drugged. Defendant Valdez would
19
        provide Plaintiffs the water which after drinking Plaintiffs would feel slightly
20
        euphoric, dizzy and then sick.
21

22   185.        Defendant Valdez would demand Plaintiffs drink the water but they refused
23
        and/or faked consumption.
24

25   186.        During the transportation Plaintiffs were forced to listen to a device with
26
        music similar to a device associated with Defendant KK9s nonprofit organization
27
        MusicBeatsHearts, in order to prevent Plaintiffs from eavesdropping on the
28

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 1      Defendants conversations. At certain times the music stopped playing and Plaintiff
 2
        John Doe was able to get the ear buds partially out of one ear, without Defendants
 3
        noticing, to hear conversations about the plans they had for Plaintiffs.
 4
 5   187.      Plaintiffs were then taken to another location at 1725 Arlington Blvd., El
 6
        Cerrito, CA 94530.
 7
 8   188.      Plaintiffs were able to keep track of their location by remembering cross
 9
        streets when they were finally let out of the vehicle for stops.
10
11   189.      At this location Plaintiffs observed a RV (recreational vehicle) arrive at the
12
        residence.
13
14   190.      During this stop is when Plaintiffs noticed Defendant KK was a part of the
15      convoy.
16
17   191.      At this stop, Plaintiffs overheard Defendant KK, being referred to as her code

18      name, believed to be her middle name Natasha, discussing visiting the UC Berkley
19
        campus as Defendant seemed very familiar with the area and familiar with the city.
20

21   192.      Upon information and belief, this location was approximately seven miles
22      from the home in Orinda where Plaintiffs were assaulted.
23

24   193.      Plaintiffs were then taken to another location at The Beacon Grand Hotel (Sir

25      Francis Drake).
26

27   194.      Defendant Shane worked at the hotel as a manager.

28

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 1   195.      Plaintiffs were taken into the hotel through what appeared to be the side
 2
        entrance, by Defendants Valdez, Pelletier and Gonzalez.
 3

 4   196.      Defendant Pelletier told the co-conspirator Defendants he would stay at a
 5      different hotel nearby, so it wouldn9t be linked to him.
 6

 7   197.      Once inside the hotel room, Plaintiffs were beaten and drugged by

 8      Defendants Valdez and Gonzalez. Plaintiffs pleaded with Valdez and Gonzalez to be
 9
        released and for mercy.
10
11   198.      Defendants Valdez and Gonzalez instructed Plaintiffs to sign paperwork, at
12
        gun point. When Plaintiffs refused Defendant Gonzalez would pistol whip Plaintiffs
13
        on the back of their heads.
14

15   199.      Defendant Gonzalez eventually gave Plaintiffs a drink which caused them to
16
        pass out.
17

18   200.      Plaintiffs spent the night at the hotel with Defendants Gonzalez and Valdez,
19
        taking turns watching them.
20

21   201.      The next morning, Plaintiffs were restrained and bound by their hands in
22      front and were placed into a vehicle. Plaintiffs then saw Defendants Jaguar and
23
        Helena.
24

25   202.      Upon information and belief, Defendants Jaguar and Helena were in a small
26
        sedan, light color, white or beige.
27

28

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 1   203.      Plaintiffs were then transported to the location of Plaintiff Parham9s brutal
 2
        assault on Loma Vista Drive by Defendants Jaguar and Helena.
 3

 4   204.      Defendant Helena was the driver and Defendant Jaguar was the passenger.
 5
     205.      Defendant Helena warned Plaintiffs if they tried to escape or run that she
 6

 7      would <have to shoot you.=

 8
     206.      Defendant Helena also warned Plaintiffs not to throw up her vehicle, saying
 9

10      <you better not throw up in my car or get sick.=

11
     207.      Defendant Helena mentioned having two partners as backup who were
12
        bounty hunters.
13
14
     208.      Plaintiffs were familiar with Defendant Helena as she had filed a lawsuit
15
        against superstar singer Michael Jackson in 2005 and filed a creditors claim against
16
17      the Jackson estate upon his untimely demise in 2009.

18
     209.      Plaintiffs were familiar with Defendant Helena from her previous Michael
19
20
        Jackson lawsuits and had previously met with Defendant at her home in West

21      Hollywood to determine the credibility of her claims and if they were similar in
22      nature to Plaintiffs.
23

24   210.      Plaintiffs had reported Defendant Helena multiple times to the LA and OC

25      FBI field offices, for her role in the crime syndicate with Defendants Pelletier,
26
        Valdez and other individuals.
27

28

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 1   211.         Plaintiffs attempted to make conversation with Defendant Helena in which
 2
        she admitted she was the same person who Plaintiffs had met with previously.
 3

 4   212.         Defendant Jaguar, aggravated, stated <You let them know who you are?
 5      That9s really great.=
 6

 7   213.         Plaintiffs noticed Defendants had large brown bags and manila envelopes full

 8      of cash that was banded. It appeared they were separating the large sums of cash to
 9
        distribute as they were placing cash into the manila envelopes.
10
11   214.         Defendant Jaguar discussed with Defendant Helena how the parties started
12
        the first black owned network. Upon information and belief, Plaintiffs believe that
13
        network to be Revolt TV.
14

15   215.         Defendant Jaguar and Defendant Helena discussed the other co-conspirators
16
        but referred to them by their middle names Natasha (Defendant KK), Pedro
17
        (Defendant Gonzalez), Lira (Defendant Valdez), Cornelius (Defendant Odell) and
18

19      Larry shortened for Lawrence (Defendant Pelletier).

20
     216.         When Defendant Jaguar said Cornelius it upset Defendant Helena who said
21

22      that Defendants Odell and Druski were her clients, and nothing better happen to

23      them, and Plaintiffs better not say anything about them, or she would have Plaintiffs
24
        killed.
25
26   217.         Defendant Jaguar then told Plaintiffs they were being taken to meet John.
27      Plaintiffs now know that was referring to Defendant Diddy.
28

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 1   218.      When Defendants arrived with Plaintiffs at the Loma Vista location it
 2
        appeared as they were waiting and coordinating for others to arrive.
 3

 4   219.      A large sedan arrived and Plaintiffs were were placed in the back with
 5      Defendant Valdez. Defendant Pelletier was driving.
 6

 7   220.      Plaintiffs then arrived at a short driveway / curb.

 8
     221.      Plaintiff remembers looking for intersecting street sign at this location and
 9

10      found Los Conejos, a dead-end street off of Loma Vista Drive. Plaintiff John Doe

11      repeated the name of the street to himself so he remembered and was able to
12
        whisper into Jane Doe9s ear to remember the intersecting street name, Los Conejos.
13
14   222.      Plaintiffs believed this was the home they would be murdered in and tried to
15      devise a plan for escape.
16
17   223.      Plaintiffs were brought into the house and into the kitchen where they were

18      watched by Defendant Gonzalez.
19
20
     224.      Plaintiffs repeated their pleas to Defendant Gonzalez to be released and for

21      mercy which he replied, <there9s nothing [he] can do.=
22
     225.      Plaintiffs could hear other people inside the home, and tried to listen to
23

24      understand what was happening which included a woman9s scream.

25
     226.      Eventually, Plaintiffs were lead deeper into the home where they encountered
26

27      more individuals including Defendant Diddy.

28

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 1   227.      Plaintiffs observed several individuals gathered around a bed while
 2
        Defendants Gonzalez and Valdez stood outer guard.
 3

 4   228.      Plaintiffs observed Defendants Jaguar and Helena enter the residence.
 5
     229.      Defendant Jaguar told Plaintiffs, <He wants something you have. If I were
 6

 7      you, I'd figure out what it is really fast.= The <he= Defendant was referring to is

 8      believed to be Defendant Diddy.
 9

10   230.      Shortly after, Defendant Druski appeared wearing a vest and shorts, and he

11      engaged in conversation with Plaintiffs. Plaintiffs tried to appeal to Defendant by
12
        talking about the music industry and Defendant instructed Plaintiffs that they should
13
        cooperate.
14

15   231.      Plaintiffs describe what they observed during the assault of Plaintiff Parham
16
        after this interaction with Defendant Druski.
17

18   232.      Plaintiffs observed Plaintiff Parham having an IUD forcefully placed in her
19
        vagina by Defendants KK with the assistance of Defendant Brandi.
20

21   233.      Plaintiffs heard Defendant KK make a remark about how Plaintiff Jane Doe
22      would not need an IUD because of her age.
23

24   234.      While hearing Plaintiff Parham scream in agony during the forced IUD

25      insertion Plaintiff Jane Doe yelled <stop hurting her!=
26

27   235.      Plaintiffs observed Defendant Shane place a pillow over Plaintiff Parham9s

28      face suffocating her and Plaintiff Jane Doe yelled for them to stop or that she would

                                     Page 38 of 87
 1      die. Plaintiff Jane Doe believes Plaintiff Parham did lose consciousness because she
 2
        became limp and unresponsive.
 3

 4   236.      Defendant Diddy instructed Defendant Valdez to <shut her up,= and
 5      Defendant Valdez hit Plaintiff Jane Doe with the handle of his firearm.
 6

 7   237.      Plaintiff John Doe witnessed Plaintiff Parham being assaulted by the remote

 8      and when he tried to say something Plaintiff was told to shut up or they would put
 9
        the remote in him next.
10
11   238.      Plaintiff John Doe believes he heard Defendant Jaguar make remarks, <Put
12
        that remote in her!=, <She9s going to learn today!= and telling Plaintiff Parham that
13
        she was <going to make it worse!=
14

15   239.      Plaintiffs believe the remote assault was to punish Plaintiff Parham for the
16      IUD failure.
17
     240.      Plaintiffs heard Defendant KK remark to Defendants Diddy and Druski that
18
        she needed to keep them sufficiently drugged and revealed a bag full of drugs and
19
20      paraphernalia. Defendant KK appeared to be disbursing 8doses9 to Defendants
21      asking them their weights to administer the proper amount.
22
     241.      At some point Plaintiff John Doe was taken to the bathroom. While in the
23
        bathroom he believed there may have been other tenants and began to bang on the
24

25      walls hoping someone would hear him but the only person who heard him was

26      Defendants Valdez and Gonzalez who were outside keeping watch.
27
     242.      Upon Plaintiff John Doe9s return he saw Defendant Odell.
28

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 1   243.      Plaintiff John Doe took immediate notice of Defendant Odell because when
 2
        he took his clothes off Plaintiff remembers Defendant being in great shape,
 3
        especially in comparison to the naked bodies of Defendants Diddy and Druski.
 4
 5   244.      Plaintiff John Doe overheard Defendant Diddy and Odell discussing business

 6      and the plan to have Plaintiff Parham return to New York with Defendant Odell.
 7
     245.      Plaintiff John Doe could not readily observe where Plaintiff Jane Doe was
 8
        during this time.
 9

10   246.      While during this time where Plaintiff Jane Doe was out of the sight of

11      Plaintiff John Doe, Plaintiff Jane Doe was being sexually assaulted by Defendant
12
        Valdez in another room.
13
     247.      Plaintiff John Doe witnessed the gang rape of Plaintiff Parham.
14

15
     248.      Plaintiff Jane Doe witnessed the gang rape of Plaintiff Parham.

16   249.      Plaintiff John Doe witnessed Defendant Druski douse Plaintiff Parham in
17      baby oil and then jumped and slid across her body.
18
     250.      Plaintiff John Doe observed Defendants Diddy and Druski manically and
19
20
        hysterically laughing, which Plaintiff attributed to their drug use.

21   251.      Defendant Diddy then attempted to force Plaintiff John Doe to also assault
22      Plaintiff Parham and he refused.
23
     252.      Defendant Diddy instructed Defendant co-conspirators to throw Plaintiff
24
        John Doe into the wall several times in order to get him to comply with his demand
25
26      to rape Plaintiff Parham, which he would not comply.
27   253.      Defendant Diddy instructed Defendant co-conspirators to yank, grab and pull
28

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 1      at Plaintiff John Doe9s genitals violently in an effort to punish him for not
 2
        participating in the gang rape of Plaintiff Parham. Plaintiff John Doe remembers
 3
        Defendant Big Homie CC saying he was going to look for pliers to use to further
 4
 5      torture Plaintiff.

 6   254.      Plaintiff John Doe believes Defendant Diddy wanted Plaintiff to rape
 7
        Plaintiff Parham so they could frame him in the event Plaintiff Parham reported her
 8
        assault.
 9

10   255.      In an effort to get DNA from Plaintiff John Doe to place on Plaintiff Parham,

11      Defendant Diddy had one of the Defendant co-conspirators orally copulate Plaintiff
12
        John Doe to get semen from him but it failed.
13
     256.      Plaintiff Jane Doe observed Defendant KK return to the room to check on
14

15
        Plaintiff Parham and providing her an IV telling her to <breathe deeply.=

16   257.      Plaintiff John Doe watched Plaintiff Parham lose consciousness.
17   258.      At some point Plaintiff Jane Doe returns after Defendants Diddy, Shane,
18
        Druski, Odell, KK and others leave the home and retire to either the backyard or to
19
20
        the upstairs patio. Plaintiffs were left alone and unattended with an unconscious

21      Plaintiff Parham.
22   259.      Plaintiffs were crying after observing the assault upon Plaintiff Parham and
23
        began to realize this was their next chance to devise a plan for escape.
24
     260.      Plaintiffs began looking for weapons and exit points to make their escape.
25
26   261.      Plaintiffs could not find any phones or any weapons, like knives in the
27      kitchen as it appeared all the cutlery and silverware had been removed from the
28

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 1      home.
 2
     262.        Plaintiffs were trying to act quickly while the Defendants left them
 3
        unattended and were outside smoking, drinking and loudly laughing as if having a
 4
 5      party.

 6   263.        Plaintiffs observed others outside believed to be Defendant Diddy9s sons
 7
        Christian and Quincy. Plaintiffs observed them <roughhousing= and practicing lay-
 8
        up/ basketball moves.
 9

10   264.        Plaintiffs heard Defendant Diddy tell his sons to watch the gate and make

11      sure no one left.
12
     265.        Plaintiffs observed Defendant Gonzalez outside the front door where the
13
        front door was barricaded by yellow <crime scene= like tape. The door lock was
14

15
        unusual because it was facing backwards, needing the key to exit.

16   266.        Fearing no way to escape, Plaintiff Jane Doe mentioned to Plaintiff John Doe
17      that she overheard them say <put it on top of the refrigerator= and instructed
18
        Plaintiff John Doe to check to see if there was anything on top of the refrigerator.
19
20
     267.        Plaintiff John Doe found a knife on top of the refrigerator in the kitchen.

21   268.        Plaintiffs then heard ramblings from the room Plaintiff Parham was in and
22      went in to check on her and to stop her from making too much noise that could
23
        thwart their escape plan.
24
     269.        Plaintiffs told Plaintiff Parham they <weren9t going to hurt her,= and that they
25
26      were <here to help.= Plaintiff Parham, just now coming into consciousness and being
27      horrifically gang raped, was upset, terrified and unsure if Plaintiffs were trying to
28

                                       Page 42 of 87
 1      help or were also co-conspirators.
 2
     270.      Plaintiffs eventually were able to get Plaintiff Parham to calm down and
 3
        listen to their escape plan.
 4
 5   271.      Plaintiffs told Plaintiff Parham they could not find an exit to escape and

 6      needed her help to escape otherwise they would all be killed.
 7
     272.      Plaintiff Parham, after experiencing her ordeal with Defendants, believed
 8
        Plaintiffs and agreed to help in an escape.
 9

10   273.      Plaintiffs told Plaintiff Parham they had found a knife and that her assailants

11      were in the backyard which was believed to be the best exit for escape.
12
     274.      Plaintiff Parham then exited the home with the knife concealed to the
13
        backyard.
14

15
     275.      Shortly thereafter, Defendant KK returned and took Plaintiff Jane Doe to the

16      balcony, leaving Plaintiff John Doe alone in the residence. Plaintiffs believed
17      Defendant KK did not check the residence because she believed Plaintiff Parham
18
        was still unconscious.
19
20
     276.      While on the balcony, Defendant KK demanded Plaintiff Jane Doe sign

21      documents. When Plaintiff refused Defendant yelled, to at least two Doe
22      bodyguards, Plaintiff would not sign and asked them to assist.
23
     277.      Plaintiffs believe the documents were related to creditors claims Plaintiffs
24
        had against the Michael Jackson estate.
25
26   278.      During this interaction parties hear a gunshot which causes everyone to run
27      towards the backyard where the shot came from.
28

                                       Page 43 of 87
 1   279.      Plaintiff John Doe, who was left alone and unattended, was able to reach the
 2
        stairs where he saw Plaintiff Parham with the knife looking as if she was about to
 3
        stab Defendant Diddy and he yelled out <do it, stab him!= but he saw Plaintiff
 4
 5      Parham hesitate.

 6   280.      Plaintiff John Doe observed Defendant Diddy push Plaintiff Parham down at
 7
        the bottom of the stairs and Plaintiff John Doe believes he assisted her up.
 8
     281.      Plaintiffs were briefly then reunited and Plaintiff John Doe told Plaintiff Jane
 9

10      Doe now was their opportunity to escape.

11   282.      Following Plaintiff Parham, Plaintiffs ran out the back gate onto the street
12
        and in the opposite direction of Plaintiff Parham.
13
     283.      Plaintiffs arrived at the house next door to the residence and banged on the
14

15
        door and yelled for help. The wife came out and said that she and her husband

16      couldn9t help. Plaintiffs found the exchange bizarre and could not understand why
17      they would not help or call 911.
18
     284.      Plaintiffs were able to then try to hide until they saw an officer report to the
19
20
        location where they attempted to speak with the officer.

21   285.      Before Plaintiffs were able to speak to the local officer Defendant Pelletier
22      appeared and obstructed Plaintiffs from speaking to the responding officer telling
23
        the responding officer a Federal investigation was ongoing and not to interfere.
24
     286.      Defendant Pelletier told the officer to turn off his body camera. Defendant
25
26      Pelletier told the officer he was working on a case for drug trafficking and had the
27      house under surveillance and would report later to the local precinct. Defendant
28

                                     Page 44 of 87
 1      Pelletier referred to Plaintiffs and Plaintiff Parham as suspects and said they were
 2
        homeless.
 3
     287.       When Plaintiffs tried to refute these statements by Defendant Pelletier they
 4
 5      were threatened and told to shut up and remain quiet.

 6   288.       Defendant Gonzalez then transports and removes Plaintiffs from the
 7
        interaction with Defendant Pelletier and the responding officer.
 8
     289.       Defendant Gonzalez placed Plaintiffs in another vehicle, which was hard to
 9

10      see due to the darkness.

11   290.       Plaintiff Jane Doe pleaded with Defendant Gonzalez to let them go and that
12
        she would not tell. In a last-ditch effort, Plaintiff told Defendant she overheard
13
        Defendants Jaguar and Helena say they were not going to pay him and that there
14

15
        was not enough money for him.

16   291.       Unbeknownst to Plaintiffs, Defendants Jaguar and Helena were in a nearby
17      vehicle.
18
     292.       Defendant Gonzalez exited the vehicle and went to the vehicle with
19
20
        Defendants Jaguar and Helena and confronted them about what Plaintiff Jane Doe

21      said.
22   293.       Defendant Gonzalez returned to the vehicle where Plaintiffs were being held,
23
        seemingly confirming what Plaintiff Jane Doe said because Plaintiffs heard him use
24
        the Spanish term <mayate= which is often used as a slur towards black people.
25
26   294.       Defendant Gonzalez then walked Plaintiffs to a nearby street where the SUV
27      was parked and gave Plaintiffs the keys to the vehicle and released them.
28

                                     Page 45 of 87
 1     295.      Plaintiffs then arrived at Camino Pablo, the main road that leads to the I-24
 2
          freeway, and asked another commuter the nearest police station as Plaintiffs did not
 3
          have any phones and their vehicle did not have GPS. They were given instructions
 4
 5        they were close and how to proceed to the police station.

 6     296.      Plaintiffs arrived at the police station at 22 Orinda Way, Orinda CA 94563.
 7
       297.      Plaintiff John Doe walked in the police station with the intention of filing a
 8
          police report but remembered overhearing conversation from the Defendants during
 9

10        their transport, when Defendants believed he could not hear them, that if Plaintiffs

11        ever reported the incident they would be deemed crazy and non-believable.
12
       298.      Plaintiff John Doe was also concerned about the exchange with the
13
          responding officer on the scene and how he refused to listen to his pleas then.
14

15
       299.      Plaintiff John Doe then only briefly spoke to someone at the front desk about

16        filing a report and took a business card.
17                          FIRST CAUSE OF ACTION
18   VIOLATION OF 18 U.S.C. §§ 1962(c), 1964(c) 3 RACKETEER INFLUENCED AND
                   CORRUPT ORGANIZATIONS ACT (RICO)
19                        (Plaintiffs Against All Defendants)
20
       300.      Plaintiffs incorporate by reference and reallege each of the preceding
21
          paragraphs and all paragraphs below as though fully set forth and brought in this
22
23        cause of action.

24     301.      Defendants, as well as others known and unknown, are <persons= within the
25
          meaning of 18 U.S.C. § 1961(3) who conducted the affairs of the Diddy Sexual
26
          Abuse and Cover Up Enterprise through a pattern of racketeering activity in
27

28        violation of 18 U.S.C. § 1962(c).

                                       Page 46 of 87
 1   302.         The Diddy Sexual Abuse and Cover Up Enterprise is an association-in-fact
 2
        within the meaning of 18 U.S.C. § 1961(4) consisting of: (i) Defendants, including
 3
        each of their employees and agents; and (ii) the Diddy Sexual Abuse and Cover Up
 4
 5      Enterprise Participants, including but not limited to the Defendants enumerated

 6      herein.
 7
     303.         As set forth above, the Diddy Sexual Abuse and Cover Up Enterprise was
 8
        designed and used as a tool to enable Defendant Diddy and the Diddy Sexual Abuse
 9

10      and Cover Up Enterprise Participants to participate in a pattern of racketeering

11      activity.
12
     304.         Section 1964(c) provides that <[a]ny person injured in his business or
13
        property by reason of a violation of section 1962 of this chapter may sue therefore in
14

15
        any appropriate United States district court and shall recover threefold the damages

16      he sustains and the cost of suit, including a reasonable attorney9s fee.= 18 U.S.C. §
17      1964.
18
     305.         The Diddy Sexual Abuse and Cover Up Enterprise falls within the meaning
19
20
        of 18 U.S.C. § 1961(4) and consists of a group of <persons= associated together for

21      the common purpose of: (i) endorsing and facilitating Diddy9s sexual harassment,
22      assault and abuse of others, including Plaintiff, (ii) threatening and misleading
23
        Defendant Diddy9s victims to prevent the reporting, disclosure, or prosecution of his
24
        sexual acts, and (iii) intervening in Plaintiff9s efforts to report by concealing and
25
26      refusing to report Defendant Diddy9s sexual offenses to the appropriate authorities,
27      including law enforcement.
28

                                       Page 47 of 87
 1   306.       Defendants have conducted and participated in the affairs of the Diddy
 2
        Sexual Abuse and Cover Up Enterprise through a pattern of racketeering activity
 3
        within the meaning of 18 U.S.C. §§ 1961(1) and 1961(5), which includes multiple
 4
 5      instances of obtaining a victim for the purpose of committing or attempting to

 6      commit aggravated sexual abuse in violation of 18 U.S.C. §§ 1590 as described
 7
        above, facilitating and financially benefitting from forced labor and sex trafficking
 8
        in violation of 18 U.S.C. §§ 1589 (a), 1595(a), and instances of transporting
 9

10      individuals, specifically Plaintiffs in the instant case, for the purposes of furthering

11      the common purposes of the Diddy Sexual Abuse and Cover Up Enterprise,
12
        including sexual abuse, sexually illicit photography/videography, and other immoral
13
        purposes in violation of 18 U.S.C. § 2421, also known as the Mann Act.
14

15
     307.      The Diddy Sexual Abuse and Cover Up Enterprise engaged in and affected

16      interstate commerce, where Defendants utilized phone lines to make arrangements
17      for Defendant Diddy to further his illicit sexual activities.
18
     308.      Each participant in the Diddy Sexual Abuse and Cover Up Enterprise had a
19
20
        systemic linkage to each other participant through personal relationships and

21      employment relationships and functioned as a continuing unit for the purpose of
22      furthering the scheme and their common purposes.
23
     309.      Defendants, upon information and belief, also used the internet and other
24
        electronic facilities to carry out the scheme and conceal the ongoing sexual and
25
26      fraudulent activities taking place within the Diddy Sexual Abuse and Cover Up
27      Enterprise.
28

                                     Page 48 of 87
 1   310.      The wire transmissions described herein were made in furtherance of
 2
        Defendants9 scheme and common purpose.
 3
     311.      Defendants9 scheme and the above-described racketeering activities
 4
 5      amounted to a common course of conduct intended to cause Plaintiffs and others to

 6      hide and conceal Defendant Diddy9s abuse. Each such racketeering activity was
 7
        related, had similar purposes, involved the same or similar participants and methods
 8
        of commission, and had similar results affecting similar victims, including Plaintiffs.
 9

10      Defendants9 fraudulent activities are part of their ongoing business and constitute a

11      continuing threat to Plaintiffs.
12
     312.      The pattern of racketeering activity alleged herein and the Diddy Sexual
13
        Abuse and Cover Up Enterprise are separate and distinct from each other.
14

15
        Defendants engaged in a pattern of racketeering activity alleged herein for the

16      purpose of conducting the affairs of the Diddy Sexual Abuse and Cover Up
17      Enterprise.
18
     313.      Defendant Diddy and the Diddy Sexual Abuse and Cover Up Enterprise
19
20
        created and perpetuated a toxic culture that allowed Defendant Diddy9s abuse to

21      flourish.
22   314.      Defendant Diddy had extensive power and influence on others due to his
23
        prominent status as a mogul, his fame and notoriety.
24
     315.      Defendant Diddy had command. Defendant Diddy had means, access and
25
26      influence to provide individuals with a career in the entertainment industry, and
27

28

                                      Page 49 of 87
 1      other industries, through his dominate stature in the entertainment industry and
 2
        connections afforded him due to his fame and notoriety.
 3
     316.      Defendant Diddy had authority. Defendant Diddy at all times was a mogul
 4
 5      and billionaire who cultivated relationships with some of the most influential

 6      individuals through his highly sought after parties and notoriety in the music
 7
        industry.
 8
     317.      Defendant Diddy had control. Defendant Diddy controlled who did what,
 9

10      when and how within his circle of friends and employees including Defendants

11      named herein. If Defendants failed to comply with covering up Defendant Diddy9s
12
        sexual abuse and assaults they would be terminated, blackballed or find themselves
13
        in legal trouble.
14

15
     318.      Defendant Diddy had power. Plaintiff Parham attempted to report that it was

16      in fact Defendant Diddy who had assaulted her but instead was met with disregard
17      by the Contra Costa Sheriff9s Department. Plaintiff Does attempted to report their
18
        kidnapping, assault and Plaintiff Parham9s assault was thwarted when Defendant
19
20
        Pelletier intervened with the responding officer.

21   319.      Defendant Diddy and the Diddy Sexual Abuse and Cover Up Enterprise were
22      designed to manipulate, control, sexually assault and prevent individuals from
23
        coming forward.
24
     320.      Defendants knowingly benefited from the Diddy Sexual Abuse and Cover Up
25
26      Enterprise as they retained employment benefits and other monetary benefits.
27      Specifically, Defendant Shane mysteriously had a brand-new car, upon information
28

                                    Page 50 of 87
 1              and belief, provided to him by Defendant Diddy in thanks and appreciation of
 2
                facilitating the sexual assault on Plaintiff. Defendants Pelletier, Valdez, Jaguar and
 3
                Helena received and handled cash on behalf of the enterprise. Defendants Odell and
 4
 5              Druski received benefits related to their celebrity specifically Defendant Druski who

 6              had a television show on the Revolt TV network.3
 7
           321.         Defendants willfully ignored the dangers of Defendant Diddy9s conduct and
 8
                pattern of harassment, sexual assault, abuse and misconduct solely for their own
 9

10              personal economic benefit.

11         322.         Plaintiffs reports to police were ignored. Others who complained about
12              Defendant Diddy9s egregious behavior were ignored until Cassie Ventura sued
13
                Defendant Diddy.
14

15
           323.         Since Ms. Ventura9s bravery, countless individuals have come forward and

16              filed complaints regarding sexual abuse at the hands of Defendant Diddy. The
17              chorus of victims and evidence obtained by the U.S. Attorney9s Office for the
18
                Southern District of New York ultimately led to Defendant Diddy being indicted for
19
20
                RICO violations and sex trafficking, among other charges.

21         324.         The Diddy Sexual Abuse and Cover Up Enterprise and its members protected
22              Defendant Diddy, therefore allowing Defendant Diddy to continue with sordid and
23
                egregious sexual abuse practices, intimidated witnesses and victims from reporting
24
                Defendant Diddy9s crimes and interfered with investigations concerning his abuse.
25
26

27

28   3
         Sneakin9 in with Druski, announced by Defendant Diddy in 2021.


                                                  Page 51 of 87
 1      Most notably, a video showing Defendant Diddy abusing Ms. Ventura was covered
 2
        up and sold to him.
 3
     325.      In the instant case Defendant Diddy was aided and abetted by his network of
 4
 5      employees including Defendants who helped him escape and evade capture by

 6      police after Plaintiffs harrowing escape.
 7
     326.      Defendants were members of the Diddy Sexual Abuse and Cover Up
 8
        Enterprise and facilitated, benefited from, had knowledge of or should have known
 9

10      of Defendant Diddy9s sexual proclivities and predatory sexual behavior.

11   327.      Defendants assisted in Defendant Diddy9s predatory sexual behavior and
12
        proclivities by setting up Plaintiff to be sexually assaulted and raped by Defendant
13
        Diddy as well as assisting in covering up the crime thereafter.
14

15
     328.      Defendants provided Defendant Diddy the means to effectuate his crimes,

16      including carrying the drugs used to disable Plaintiffs as well as the means to
17      escape.
18
     329.      Plaintiffs have been injured in their person by reason of these RICO
19
20
        violations.

21   330.      By reason of and as a result of Defendants9 conduct in furtherance of the
22      Diddy Abuse Enterprise and resulting RICO violations, Plaintiffs have been injured
23
        in their person. As detailed above, Plaintiffs have suffered direct and severe damage
24
        to their professional and personal wellbeing as a result of the assault and harassment
25
26      perpetuated by and allowed by Defendants.
27

28

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 1   331.      Defendant Diddy9s assault and Defendants9 RICO violations have caused
 2
        Plaintiffs to suffer from severe emotional distress including developing an eating
 3
        disorder and extreme weight loss causing several hospitalizations as well as
 4
 5      extensive need for therapy.

 6   332.      As a result of Defendants9 actions Plaintiffs have continued to experience
 7
        fear and anxiety and also sought professional help on numerous occasions since the
 8
        egregious assault including several hospitalizations, visits to her personal physician
 9

10      and therapists.

11   333.      Specifically, Plaintiffs Does have had to move continuously and have even
12
        petitioned for name changes to protect their identities from being discovered by the
13
        Diddy Abuse Enterprise.
14

15
     334.      Defendant Diddy9s rape, kidnapping and assault and Defendants9 RICO

16      violations have caused Plaintiffs to be fearful, distressed, anxious, degraded, and
17      depressed. Plaintiffs have gained a global distrust for individuals.
18
     335.      If not but for Defendant Diddy9s direct action and the atmosphere cultivated
19
20
        by him and the Defendants who were members of the Diddy Sexual Abuse and

21      Cover Up Enterprise, Plaintiffs would not have developed several issues that have
22      severely impacted their lives and livelihood. Plaintiffs9 issues and overall health has
23
        been exacerbated by the ongoing trauma of not being believed. The damage to
24
        Plaintiffs persons is incalculable.
25
26   336.      Plaintiff Parham has experienced years of anxiety and depression since the
27      violent rape and assault that occurred in 2018. Her anxiety and depression was
28

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 1      compounded by the lack of care and complete disregard of her reports to law
 2
        enforcement. Even when Plaintiff was brave enough to name Defendant Diddy to
 3
        the police when called immediately after the incident she was dismissed and treated
 4
 5      as if she was lying due to the fame and overall public support of Defendant Diddy at

 6      the time, which speaks to the wide-spread influence Defendant Diddy had over the
 7
        general public at large.
 8
     337.       Plaintiff Parham has struggled with her inability to reconcile her horrible
 9

10      experience with Defendant Diddy and other members of the Diddy Abuse Enterprise

11      and their outward failure to protect women, as members included women.
12
     338.       Plaintiffs Does live in constant fear and have went through great lengths to
13
        protect their lives and identities from discovery of the Diddy Abuse Enterprise.
14

15
        Plaintiffs come forward now because they believe it is safe to do so due to

16      Defendant Diddy9s incarceration, charges and upcoming trial as well as in support
17      of Plaintiff Parham.
18
     339.       At all relevant times, all Defendants were aware of the essential nature and
19
20
        scope of the Diddy Sexual Abuse and Cover Up Enterprise and intended to

21      participate in it.
22
23                       SECOND CAUSE OF ACTION
             VIOLATION OF RACKETEER INFLUENCED AND CORRUPT
24          ORGANIZATIONS ACT (RICO) 4 CONSPIRACY 18 U.S.C. 1962(d)
                         (Plaintiffs Against All Defendants)
25
26

27

28

                                     Page 54 of 87
 1   340.      Plaintiffs incorporate by reference and reallege each of the preceding
 2
        paragraphs and all paragraphs below as though fully set forth and brought in this
 3
        cause of action.
 4
 5   341.      Each Defendant agreed to commit the substantive racketeering offense

 6      through agreeing to participate in racketeering acts.
 7
     342.      Each enterprise member agreed to commit the substantive racketeering
 8
        offense through agreeing to participate in racketeering acts.
 9

10   343.      Each Defendant knew the general status of the conspiracy was to enable and

11      cover up Defendant Diddy9s decades worth of sexual abuses.
12
     344.      Each enterprise member knew the general status of the conspiracy was to
13
        enable and cover up Defendant Diddy9s decades worth of sexual abuses.
14

15
     345.      Each Defendant knew the conspiracy extended beyond their individual role.

16   346.      Each enterprise member knew the conspiracy extended beyond their
17      individual role.
18
     347.      As set forth above, each Defendant agreed and conspired to violate 18 U.S.C.
19
20
        § 1962(c).

21   348.      Specifically, in an effort to enable, further, protect, aid, secrete, and cover up
22      each of Defendant Diddy9s sexual assaults, Defendant Diddy9s pattern and practice
23
        of sexual assault, kidnapping and abuse, and Defendant Diddy9s sexual battery
24
        against Plaintiffs, Defendants agreed to engage in each of the predicate offenses
25
26      identified above.
27

28

                                     Page 55 of 87
 1   349.      Defendants knew their predicate acts were part of a pattern of racketeering
 2
        activity and agreed to the commission of those acts to further the schemes described
 3
        above constituting a conspiracy to violate 18 U.S.C. § 1962(c), in violation of 18
 4
 5      U.S.C. § 1962(d).

 6                              THIRD CAUSE OF ACTION
                       CIVIL CODE § 1708.5 3 SEXUAL BATTERY
 7
             (Plaintiffs Against Defendants Diddy, Shane, Odell, Druski, Valdez)
 8
     350.      Plaintiff incorporates by reference and realleges each of the preceding
 9

10      paragraphs and all paragraphs below as though fully set forth and brought in this

11      cause of action.
12   351.      Defendants committed acts with the intent to cause a harmful or offensive
13
        contact with an intimate part of Plaintiff. The sexually offensive and unwanted
14

15
        contact with Plaintiff directly resulted from Defendants9 said acts.

16   352.      Defendant Diddy exploited his position of authority to intimidate,
17      overwhelm, and subdue Plaintiff9s, with the assistance of Defendants Shane, KK,
18
        Odell, Brandi and Druski, objections to his conduct would be met with retaliation.
19
20
     353.      Defendant Diddy abused his position of power and authority over Plaintiff

21      Parham, who was in no position to reject his sexual assault due to her being
22      physically outnumbered, unable to vacate the premises because she was drugged
23
        and having her clothes, purse, cell phone and keys hidden from her.
24
     354.      Defendant Diddy abused his position of power and authority over Plaintiff
25
26      John Doe, who was in no position to reject his sexual assault due to him being
27

28

                                     Page 56 of 87
 1      physically outnumbered, unable to vacate the premises because he was drugged and
 2
        kidnapped and having his cell phone and keys hidden from him.
 3
     355.      Defendant Valdez abused his position of power and authority over Plaintiff
 4
 5      Jane Doe, who was in no position to reject his sexual assault due to her being

 6      physically outnumbered, unable to vacate the premises because she was drugged
 7
        and kidnapped and having her cell phone and keys hidden from her.
 8
     356.      Defendants Diddy, Shane, Odell and Druski9s battery on Plaintiff caused
 9

10      physical injury, severe mental and emotional distress, pain and suffering, mental

11      anguish, and loss of enjoyment of life.
12
     357.      Defendants9 unlawful actions were intentional, done with malice, and/or
13
        showed a deliberate, willful, wanton, and reckless indifference to Plaintiff9s rights.
14

15
     358.      Plaintiff claims compensatory and punitive damages herein.

16   359.      The amount of damages sought herein exceeds the jurisdictional limits of all
17      other Courts which would otherwise have jurisdiction.
18

19                           FOURTH CAUSE OF ACTION
              CALIFORNIA CIVIL CODE § 340.16 3 SEXUAL ASSAULT
20
             (Plaintiff Parham Against Defendants Diddy, Shane, Odell, Druski)
21
     360.      Plaintiff incorporates by reference and realleges each of the preceding
22
23      paragraphs and all paragraphs below as though fully set forth and brought in this

24      cause of action.
25
     361.      Defendants touched an intimate part of Plaintiff, against her will, for sexual
26
        arousal, sexual gratification, or sexual abuse.
27

28

                                     Page 57 of 87
 1   362.       Defendants committed an act of sexual penetration against Plaintiff9s will by
 2
        means of force, drugging, violence, duress, menace, or fear of immediate and
 3
        unlawful bodily injury to Plaintiff.
 4
 5   363.       Defendants9 conduct placed Plaintiff in reasonable apprehension of bodily

 6      harm.
 7
     364.       Defendants9 actions caused Plaintiff to fear retaliation in the future and there
 8
        was a reasonable possibility that Defendants, specifically Defendant Diddy, could
 9

10      execute on a threat of retaliation.

11   365.       Defendants9 assault on Plaintiff caused physical injury, severe mental and
12
        emotional distress, pain and suffering, mental anguish, and loss of enjoyment of life.
13
     366.       Defendants9 unlawful actions were intentional, done with malice, and/or with
14

15
        a deliberate, willful, wanton, and reckless indifference to Plaintiff9s rights.

16   367.       Defendants conspired to and did engage in a cover up or attempted a cover
17      up of previous instances or allegations of sexual assault by Defendant Diddy.
18
     368.       Newly enacted CCP 340.16, effective January 1, 2023, is the governing
19
20
        California State Statute extending the statute of limitations and granting revival of a

21      Plaintiff9s claims seeking to recover damages suffered as a result of a sexual assault
22      that occurred on Plaintiff.
23
     369.       The amount of damages sought herein exceeds the jurisdictional limits of all
24
        other Courts which would otherwise have jurisdiction.
25
26
                               FIFTH CAUSE OF ACTION
27          CALIFORNIA CIVIL CODE § 51.9 3 SEXUAL HARASSMENT
28           (Plaintiff Parham Against Defendants Diddy, Shane, Odell, Druski)

                                      Page 58 of 87
 1
     370.      Plaintiff incorporate by reference and reallege each of the preceding
 2

 3      paragraphs and all paragraphs below as though fully set forth and brought in this

 4      cause of action.
 5
     371.      Defendants made sexual advances, solicitations, sexual requests, demands for
 6
        sexual compliance by Plaintiff, as well as engaged in other verbal, visual, or
 7
 8      physical conduct of a sexual nature or of a hostile nature based on Plaintiff9s gender,

 9      all of which were unwelcome and pervasive or severe.
10
     372.      Defendants intentionally, recklessly, and wantonly acts resulted in harmful
11
        and offensive contact with the intimate parts of Plaintiff9s persons.
12

13   373.      Defendant Diddy, specifically, used his authority to coerce and exploit

14      Defendant Shane into luring Plaintiff to his home so that Defendant Diddy could
15
        physically, psychologically, and/or emotionally through force, manipulation,
16
        emotional abuse, intimidation, and retaliation abuse Plaintiff. These acts were done
17

18      for Defendant Diddy9s sexual gratification.

19   374.      Plaintiff has suffered economic loss or disadvantage and/or personal injury,
20
        including but not limited to, emotional distress as a result of Defendants conduct.
21
     375.      As a result of Defendants unlawful conduct, Plaintiff is entitled to actual
22
23      damages and exemplary damages pursuant to California Civil Code section 52,

24      subdivision (b), in an amount to be awarded at trial.
25
                               SIXTH CAUSE OF ACTION
26                                        BATTERY
                              (Plaintiffs Against All Defendants)
27

28

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 1   376.      Plaintiffs incorporates by reference and realleges each of the preceding
 2
        paragraphs and all paragraphs below as though fully set forth and brought in this
 3
        cause of action.
 4
 5   377.      Defendants intended to commit and committed acts of unwanted contact with

 6      Plaintiffs.
 7
     378.      Defendants Diddy, Shane, Odell and Druski committed unwanted contact
 8
        with Plaintiff Parham in a harmful and offensive manner, including but not limited
 9

10      to by inflicting sexual abuse against Plaintiff.

11   379.      Among other batteries, Defendants KK and Brandi abused Plaintiff Parham
12
        without her consent and without equality.
13
     380.      Defendants Pelletier, Gonzalez, Valdez, Helena and Jaguar committed
14

15
        unwanted contact with Plaintiffs Does in a harmful and offensive manner, including

16      but not limited to by inflicting severe physical abuse against Plaintiffs.
17   381.      Defendants Diddy, committed unwanted contact with Plaintiff John Doe in a
18
        harmful and offensive manner, including but not limited to by inflicting sexual
19
20
        abuse against Plaintiff.

21   382.      Defendant Diddy exploited his position and status to intimidate, overwhelm,
22      and subdue Plaintiffs. Any objections to his conduct would be met with retaliation
23
        not only by Plaintiffs but the other Defendants involved.
24
     383.      Defendant Diddy abused his position of power and influence over Plaintiff
25
26      Parham and John Doe, who were in no position to reject his sexual advances.
27

28

                                     Page 60 of 87
 1   384.       Defendants9 batteries on Plaintiffs caused physical injury, severe mental and
 2
        emotional distress, pain and suffering, mental anguish, and loss of enjoyment of life.
 3
     385.       Defendants9 unlawful actions were intentional, done with malice, and/or
 4
 5      showed a deliberate, willful, wanton, and reckless indifference to Plaintiffs9 rights.

 6   386.       Plaintiffs claim compensatory and punitive damages herein.
 7
     387.       The amount of damages sought herein exceeds the jurisdictional limits of all
 8
        other Courts which would otherwise have jurisdiction.
 9

10
                              SEVENTH CAUSE OF ACTION
11                                         ASSAULT
                              (Plaintiffs Against All Defendants)
12

13   388.       Plaintiffs incorporates by reference and realleges each of the preceding

14      paragraphs and all paragraphs below as though fully set forth and brought in this
15
        cause of action.
16
     389.       Defendants intentionally attempted, threatened, and committed harmful and
17

18      offensive contacts against Plaintiffs, including but not limited to inflicting sexual

19      abuse and physical abuse against Plaintiffs.
20
     390.       Defendants9 conduct placed Plaintiffs in reasonable apprehension of bodily
21
        harm.
22
23   391.       Defendants9 assaults on Plaintiffs caused physical injury, severe mental and

24      emotional distress, pain and suffering, mental anguish, and loss of enjoyment of life.
25
     392.       Defendants9 unlawful actions were intentional, done with malice, and/or
26
        showed a deliberate, willful, wanton, and reckless indifference to Plaintiffs9 rights.
27

28   393.       Plaintiffs9 claims compensatory and punitive damages herein.

                                     Page 61 of 87
 1   394.      The amount of damages sought herein exceeds the jurisdictional limits of all
 2
        other Courts which would otherwise have jurisdiction.
 3
                               EIGHTH CAUSE OF ACTION
 4                                      NEGLIGENCE
 5                        (Plaintiff Parham Against Defendant Shane)

 6   395.      Plaintiff incorporate by reference and reallege each of the preceding and all
 7
        paragraphs below as though fully set forth and brought in this cause of action.
 8
     396.      Defendant Shane invited Plaintiff to his home as a guest. Defendant Shane
 9

10      owed Plaintiff a right to expect protection from the other Defendants, specifically

11      Defendant Diddy, while a guest in his home.
12   397.      As a direct and proximate result of the foregoing negligence, Plaintiff was
13
        sexually harassed, assaulted and abused by Defendants Diddy, Shane and Does 1
14

15
        and 2, causing Plaintiff bodily injuries, pain and suffering, mental anguish, and loss

16      of capacity for the enjoyment of life. The losses are either permanent or continuing,
17      and Plaintiff will suffer losses in the future.
18
                                NINTH CAUSE OF ACTION
19                          NEGLIGENT FAILURE TO WARN
     (Plaintiffs Against Defendants Shane, KK, Pelletier, Gonzalez, Valdez, Odell, Druski,
20
                                Jaguar, Helena, Brandi, Does)
21
     398.      Plaintiffs incorporate by reference and reallege each of the preceding and all
22
23      paragraphs below as though fully set forth and brought in this cause of action.

24   399.      Defendants conduct created a risk of physical or emotional harm to Plaintiffs.
25
     400.      Defendants knew and had reason to know that Plaintiffs Parham and John
26
        Doe were at risk of sexual assault and abuse by Defendant Diddy.
27

28

                                      Page 62 of 87
 1   401.      Despite the knowledge of the danger in the participation in the Diddy Sexual
 2
        Abuse and Cover Up Enterprise, Defendants did not alert Plaintiffs to the risk of
 3
        sexual assault, harassment, kidnapping, physical assault, rape, and/or other attacks
 4
 5      by Defendant Diddy. In fact, Defendants facilitated and assisted Defendant Diddy in

 6      his illegal deviant activities and despicable behavior.
 7
     402.      Defendant Pelletier represented he was lawfully transporting Plaintiffs Does
 8
        for the purpose of outstanding warrants.
 9

10   403.      Defendant Shane, specifically represented to Plaintiff that she would be safe

11      while a guest in his home and would be free of risk of attack.
12
     404.      Defendants had reason to know that Plaintiffs would be unaware of the risk
13
        of sexual assault, harassment, kidnapping, physical assault, rape, and/or other
14

15
        attacks by Defendant Diddy and the Diddy Sexual Abuse and Cover Up Enterprise.

16   405.      A warning to Plaintiffs by any Defendant that they were at risk of sexual
17      assault, harassment, kidnapping, physical assault, rape, and/or other attacks by
18
        Defendant Diddy or any other Defendant would have reduced the risk of harm to
19
20
        Plaintiffs.

21   406.       As a legal and direct result of the aforementioned conduct and omission of
22      Defendants, Plaintiffs were sexually assaulted, harassed, kidnapped, physically
23
        assaulted, raped, and/or otherwise attacked and robbed of their dignity and personal
24
        safety. The depraved attacks on Plaintiff caused Plaintiff to suffer serious
25
26      psychological and physical harm from which she may never fully recover.
27

28

                                     Page 63 of 87
 1   407.        As a direct and legal result of Defendants9 Failure to Warn, Plaintiffs
 2
        suffered damages, both economic and general, non-economic damages according to
 3
        proof.
 4
 5                                TENTH CAUSE OF ACTION
                      NEGLIGENT SUPERVISION AND RETENTION
 6                              (Plaintiffs Against Defendant Diddy)
     408.        Plaintiffs incorporate by reference and reallege each of the preceding
 7
 8      paragraphs and all paragraphs below as though fully set forth and brought in this

 9      cause of action.
10
     409.        At all times material, Defendants were employed by Defendant Diddy (under
11
        the control and authority of Defendant Diddy).
12

13   410.        Defendants were unfit or incompetent and posed a particular risk of sexually

14      harassing, assaulting, and or mentally abusing Plaintiff.
15
     411.        Defendant Diddy knew or should have known not only that Defendants were
16
        unfit or incompetent and posed a particular risk of sexually harassing, assaulting,
17

18      physically and or mentally abusing Plaintiffs, but also that this unfitness created a

19      particular risk to Plaintiffs.
20
     412.        Defendants9 unfitness and particular risk to Plaintiffs harmed Plaintiffs.
21
     413.        Defendant Diddy knew or should have known that Defendants Odell and
22
23      Druski had previously engaged and was continuing to engage in unlawful sexual

24      conduct for his own personal sexual gratification.
25
     414.        Defendant Diddy knew or should have known that it was foreseeable that
26
        Defendants Odell and Druski was engaging, or would engage, in illicit sexual
27

28

                                         Page 64 of 87
 1      activities with Plaintiff under the cloak of the authority, confidence, and trust,
 2
        bestowed upon him through Defendant Diddy.
 3
     415.      At no time during the alleged period did Defendant Diddy have in place a
 4
 5      reasonable system or procedure to investigate, supervise and monitor Defendants

 6      Odell and Druski to prevent sexual and verbal abuse, sexual assault, nor did he
 7
        implement a system or procedure to oversee or monitor conduct towards individuals
 8
        they encountered.
 9

10   416.      Defendant Diddy conspired to and did breach his duties of care owed to

11      Plaintiff, including by turning a blind eye and encouraging known abuses by
12
        Defendants Odell and Druski and the known dangerous conditions of the Diddy
13
        Sexual Enterprise and by continuing to expose individuals, like Plaintiffs Parham
14

15
        and John Doe, to these dangers for decades.

16   417.      Even though Defendant Diddy knew or should have known of these sexually
17      illicit activities by himself and Defendants Odell and Druski, he failed to use
18
        reasonable care in supervising Defendants Odell and Druski and did nothing to
19
20
        reasonably investigate, supervise or monitor Defendants Odell and Druski to ensure

21      the safety of individuals they encountered.
22   418.      Defendant Diddy9s negligence in supervising and or retaining Defendants
23
        Odell and Druski was a substantial factor in causing harm to Plaintiff.
24
     419.      As a result of the above-described conduct, Plaintiffs has expended
25
26      significant costs on therapy and suffered damages including deprivation of income
27      and benefits, loss of employment opportunities, severe physical and emotional
28

                                     Page 65 of 87
 1      distress, pain and suffering, mental anguish, humiliation, loss of enjoyment of life,
 2
        and damage to her reputation and career.
 3
     420.       Plaintiffs claim compensatory and punitive damages herein.
 4
 5   421.       The amount of damages sought herein exceeds the jurisdictional limits of all

 6      other Courts which would otherwise have jurisdiction.
 7
                         ELEVENTH CAUSE OF ACTION
 8              INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
                          (Plaintiffs Against All Defendants)
 9

10   422.       Plaintiffs incorporate by reference and reallege each of the preceding

11      paragraphs and all paragraphs below as though fully set forth and brought in this
12
        cause of action.
13
     423.       Defendants conspired to and did engage in conduct that was extreme and
14

15
        outrageous and intentionally caused severe emotional distress to Plaintiffs.

16   424.       Defendants9 conduct exceeded all possible bounds of decency.
17   425.       Defendants acted with the intent and knowledge that Plaintiffs suffered
18
        emotional distress due to their inexcusable and outrageous conduct.
19
20
     426.       Defendants9 conduct caused Plaintiffs to suffer physical injury, severe mental

21      and emotional distress, pain and suffering, mental anguish, and loss of enjoyment of
22      life.
23
     427.       Defendants9 unlawful actions were intentional, done with malice, and/or
24
        showed a deliberate, willful, wanton, and reckless indifference to Plaintiffs9 rights.
25
26   428.       Plaintiffs9 claims compensatory and punitive damages herein.
27

28

                                     Page 66 of 87
 1      429.      The amount of damages sought herein exceeds the jurisdictional limits of all
 2
           other Courts which would otherwise have jurisdiction.
 3
                          TWELFTH CAUSE OF ACTION
 4                NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS
 5                         (Plaintiffs Against All Defendants)

 6      430.      Plaintiffs incorporate by reference and reallege each of the preceding
 7
           paragraphs and all paragraphs below as though fully set forth and brought in this
 8
           cause of action.
 9

10      431.      Defendants were negligent by both conspiring to and each breaching the duty

11         of care they owed to Plaintiffs to keep her safe and by breaching their duty to
12         properly supervise and control Defendants within the Diddy Sexual Abuse and
13
           Cover Up Enterprise.
14

15
        432.      Plaintiffs suffered physical injuries, severe mental and emotional distress,

16         pain and suffering, mental anguish, and loss of enjoyment of life.
17      433.      Defendants9 negligence were a substantial factor in causing Plaintiffs to
18
           suffer physical injuries, severe mental and emotional distress, pain and suffering,
19
20
           mental anguish, and loss of enjoyment of life.

21                             THIRTEENTH CAUSE OF ACTION
                                     UNJUST ENRICHMENT
22   (Plaintiffs Against Defendants Shane, KK, Pelletier, Valdez, Brandi, Druski, Helena, Odell,
23                                  Big Homie CC, Jaguar, Does)

24      434.      Plaintiffs incorporate by reference and reallege each of the preceding
25
           paragraphs and all paragraphs below as though fully set forth and brought in this
26
           cause of action.
27

28

                                       Page 67 of 87
 1   435.      Defendant Shane received significant revenue, specifically a new car, for his
 2
        betrayal and his involvement in Plaintiff9s assault, battery, rape, false imprisonment
 3
        and his role in the Diddy Sexual Abuse and Cover Up Enterprise.
 4
 5   436.      Defendants Pelletier, Valdez, KK, Brandi, Helena, Jaguar and Does received

 6      revenue in the form of cash payment for their involvement in in Plaintiffs Does
 7
        assault, battery, false imprisonment and his role in the Diddy Sexual Abuse and
 8
        Cover Up Enterprise.
 9

10   437.      Other Defendants named herein received significant revenue for their

11      involvement in Plaintiffs assault and their roles in the Diddy Sexual Abuse and
12
        Cover Up Enterprise.
13
     438.      Defendants appreciate and have knowledge of such benefits and retain them
14

15
        to this day.

16   439.       Under principles of equity and good conscience, Defendants should not be
17      permitted to retain the profit they received and retained at Plaintiffs expense while
18
        refusing to provide compensation for the injuries suffered by Plaintiffs as a result of
19
20
        their unlawful conduct, including their failure to guard against, educate as to, or

21      otherwise failure to prevent such injuries inflicted on Plaintiffs.
22   440.      Under principles of equity and good conscience, Defendants should not be
23
        permitted to retain the profit they received and retained at Plaintiffs expense while
24
        refusing to provide compensation for the injuries suffered by Plaintiffs as a result of
25
26      their unlawful conduct as members of the Diddy Sexual Abuse and Cover Up
27      Enterprise.
28

                                     Page 68 of 87
 1   441.      Plaintiffs seek restitution and/or disgorgement of all monies Defendants have
 2
        unjustly received and retained as a result of their unlawful conduct and participation
 3
        in the Diddy Sexual Abuse and Cover Up Enterprise alleged herein.
 4
 5                         FOURTEENTH CAUSE OF ACTION
                                AIDING AND ABETTING
 6                           (Plaintiffs Against All Defendants)
 7
     442.      Plaintiffs incorporate by reference and reallege each of the preceding
 8
        paragraphs and all paragraphs below as though fully set forth and brought in this
 9

10      cause of action.

11   443.      Defendants knew that an assault/battery/sexual assault was being committed
12      and was going to be committed against Plaintiffs because of Defendants
13
        involvement in the Diddy Sexual Abuse and Cover Up Enterprise.
14

15
     444.      Defendants provided drugs to be used to take advantage of Plaintiffs without

16      the knowledge or consent of Plaintiffs.
17   445.      Defendants knew Plaintiffs have been and would be assaulted because of
18
        their involvement in the Diddy Sexual Abuse and Cover Up Enterprise.
19
20
     446.      Defendants9 conduct was a substantial factor in causing harm to Plaintiffs.

21   447.      Through the aforementioned acts, Defendants caused Plaintiffs an imminent
22      apprehension of harmful or offensive contact with an intimate part of Plaintiffs9
23
        body and sexually offensive contact with Plaintiffs resulted.
24
     448.      As a result of Defendants conduct, Plaintiffs have suffered economic injury.
25
26      Plaintiffs9 general, special, and consequential damages are in an amount to be
27

28

                                    Page 69 of 87
 1      proven at trial, but in no event is less than the minimum jurisdictional amount of this
 2
        Court.
 3
     449.        As a result of Defendants above-described conduct, Plaintiffs have suffered
 4
 5      and continues to suffer great emotional distress and was prevented and will continue

 6      to be prevented from performing daily activities and obtaining the full enjoyment of
 7
        life.
 8
     450.        As described in this Complaint, the Defendants conduct was done with
 9

10      oppression, fraud, and/or malice warranting significant damages, including punitive

11      damages.
12
     451.        Here, Plaintiffs were sexually assaulted by Defendants Diddy, Shane, Odell,
13
        Druski, Valdez and Doe at Defendant Shane9s residence. Plaintiff was legally on the
14

15
        premises as a guest and invitee of Defendant Shane. Defendant Shane (through

16      renting) the premises had dominion and control over the premises where Plaintiff
17      was harmed. Defendant Diddy had dominion and control over the actions of
18
        Defendants Shane, Odell, Druski and Doe and failed to step in and stop them from
19
20
        sexually assaulting Plaintiff Parham.

21   452.        As the owner of the property, Defendant Shane had a duty to protect Plaintiff
22      from the harm she suffered at the hands of Defendants Diddy Odell, Druski and Doe
23
        and breached his duty when he failed to stop them from sexually assaulting Plaintiff
24
        Parham. In furtherance of this breach, Defendant Shane encouraged Defendant
25
26      Diddy Odell, Druski and Doe to continue their assault on Plaintiff. Plaintiff has
27

28

                                      Page 70 of 87
 1      suffered immensely because of Defendant Shane9s intentional breach of his duty to
 2
        her.
 3
     453.         Plaintiffs Does were battered, sexually assaulted and assaulted by Defendants
 4
 5      Diddy, Pelletier, Gonzalez and Valdez at Defendant Shane9s residence. Plaintiffs

 6      were legally on the premises as they were kidnapped and forcefully brought there.
 7
        Defendant Shane (through renting) the premises had dominion and control over the
 8
        premises where Plaintiffs were harmed. Defendant Diddy had dominion and control
 9

10      over the actions of Defendants Shane, Odell, Druski, Pelletier, Gonzalez, Valdez

11      and Doe and failed to step in and stop them from assaulting and battering Plaintiffs.
12
     454.         As the owner of the property, Defendant Shane had a duty to protect
13
        Plaintiffs from the harm they suffered at the hands of Defendants Diddy, Pelletier,
14

15
        Gonzalez, and Valdez and breached his duty when he failed to stop them from

16      battering and assaulting Plaintiffs Does. In furtherance of this breach, Defendant
17      Shane encouraged Defendants to continue their assault on Plaintiffs. Plaintiffs have
18
        suffered immensely because of Defendant Shane9s intentional breach of his duty to
19
20
        them.

21   455.         As a result of breach of his duty, Plaintiffs have suffered and continues to
22      suffer harm, including severe emotional distress, anxiety, and other consequential
23
        damages, for which they are entitled to an award of monetary damages and other
24
        relief.
25
26   456.         Defendants conduct described above was willful, wanton, and malicious. At
27      all relevant times, Defendants acted with conscious disregard for Plaintiffs9 rights
28

                                        Page 71 of 87
 1      and feelings, acted with the knowledge of or with reckless disregard for the fact that
 2
        their conduct was certain to cause injury to Plaintiffs, and intended to cause fear,
 3
        physical injury and/or pain and suffering to Plaintiffs. By virtue of the foregoing,
 4
 5      Plaintiffs are entitled to recover punitive damages.

 6                        FIFTEENTH CAUSE OF ACTION
                   TRAFFICKING AND VICTIMS9 PROTECTION ACT
 7
                           (Plaintiffs Against All Defendants)
 8
     457.        Plaintiffs incorporate by reference and reallege each of the preceding
 9

10      paragraphs and all paragraphs below as though fully set forth and brought in this

11      cause of action.
12   458.        Defendants knowingly and intentionally participated in, perpetrated, assisted,
13
        supported, and facilitated a sex trafficking venture that was in and affecting
14

15
        interstate and foreign commerce, together and with others, in violation of 18 U.S.C.

16      § 1590
17   459.        Among other things, Defendants knowingly and intentionally recruited,
18
        enticed, provided, obtained, advertised, and solicited by various means Plaintiffs,
19
20
        knowing that Defendants would use means of force, threats of force, fraud,

21      coercion, and a combination of such means to cause Plaintiffs to engage in
22      nonconsensual sex acts.
23
     460.        Defendants had actual knowledge that they were perpetrating and facilitating
24
        Defendant Diddy9s sexual abuse and sex trafficking conspiracy to recruit, solicit,
25
26      entice, coerce, harbor, transport, obtain, and provide Plaintiffs into nonconsensual
27

28

                                      Page 72 of 87
 1      sex acts, through the means of force, threats of force, fraud, abuse of process, and
 2
        coercion.
 3
     461.       Despite such knowledge, Defendants intentionally paid for, facilitated,
 4
 5      perpetrated, and participated in Defendant Diddy9s violations of 18 U.S.C. § 1590,

 6      which Defendants knew, and were in reckless disregard of the fact that Defendant
 7
        Diddy would coerce, defraud, and force Plaintiffs to engage in nonconsensual sex
 8
        acts.
 9

10   462.       Defendants9 actions were in and affecting interstate and foreign commerce.

11   463.       By taking the concrete steps alleged in this Complaint, Defendants
12
        knowingly participated in sex trafficking and furthered the Diddy Sexual Abuse and
13
        Cover Up Enterprise. The concrete steps constituted taking part in the sex
14

15
        trafficking venture and were necessary for its success. The concrete steps

16      constituted active engagement by Defendants in the Diddy Sexual Abuse and Cover
17      Up Enterprise. Defendants knew that its active engagement would lead to and cause
18
        coercive sex trafficking.
19
20
     464.       Defendants affirmative conduct was committed knowing, and in reckless

21      disregard of the facts, that Defendant Diddy would use his means and influence to
22      force and intimidate Plaintiff into engaging in nonconsensual sex acts. Defendants9
23
        conduct was outrageous and intentional.
24
     465.       Defendants knowing and intentional conduct has caused Plaintiffs serious
25
26      harm, including, without limitation, physical, psychological, emotional, financial,
27      and reputational harm.
28

                                     Page 73 of 87
 1    466.      Defendants knowing and intentional conduct has caused Plaintiffs harm that
 2
         are sufficiently serious, under all the surrounding circumstances, to compel a
 3
         reasonable person of the same background and in the same circumstances to
 4
 5       perform or to continue performing nonconsensual sexual activity, to avoid incurring

 6       further harm.
 7
      467.      Defendants criminal conduct in perpetrating TVPA violations was
 8
         outrageous and intentional because it was in deliberate furtherance of a widespread
 9

10       and dangerous criminal sex trafficking organization. Defendants criminal conduct

11       also evinced a high degree of moral turpitude and demonstrated such wanton
12
         dishonesty as to imply a criminal indifference to civil obligations. Defendants
13
         criminal conduct was directed specifically at Plaintiffs, who was the victim of
14

15
         Defendant Diddy9s sexual abuse and sex trafficking.

16    468.      Defendants outrageous and intentional conduct in this case is part of a pattern
17       and practice of profiting by undertaking illegal <high risk, high reward= actions.
18
      469.      By virtue of these knowing and intentional violations of 18 U.S.C. §§ 1590
19
20
         and 1595, Defendants are liable to Plaintiffs for the damages they sustained, and

21       reasonable attorneys9 fees.
22    470.      By virtue of these intentional and outrageous violations of 18 U.S.C. § 1590
23
         and 1595, Defendants are liable to Plaintiffs.
24

25                     SIXTEENTH CAUSE OF ACTION
      AIDING, ABETTING, AND INDUCING A SEX-TRAFFICKING VENTURE IN
26   VIOLATION OF THE TRAFFICKING VICTIMS9 PROTECTION ACT, 18 U.S.C.
27                                §§ 1590 and 1595
                         (Plaintiffs Against All Defendants)
28

                                       Page 74 of 87
 1   471.      Plaintiffs incorporate by reference and reallege each of the preceding
 2
        paragraphs and all paragraphs below as though fully set forth and brought in this
 3
        cause of action.
 4
 5   472.      Defendants directly committed and perpetrated violations of Chapter 77,

 6      Title 18, U.S. Code, including 18 U.S.C. § 1590 by aiding, abetting, and inducing
 7
        the sex trafficking venture and the sex trafficking of Plaintiffs. Defendants
 8
        themselves directly violated Chapter 77 by committing and perpetrating these
 9

10      violations.

11   473.      Among other things, Defendants aided, abetted, and induced Defendant
12
        Diddy9s sex trafficking venture and sex trafficking of Plaintiffs Parham and John
13
        Doe knowing that Defendant Diddy would use means of force, threats of force,
14

15
        fraud, coercion, and a combination of such means to cause Plaintiffs to engage in

16      nonconsensual sex acts.
17   474.      By aiding, abetting, and inducing Defendant Diddy9s sex trafficking venture
18
        and sex trafficking of Plaintiffs Parham and John Doe, Defendants benefited, both
19
20
        financially and by receiving things of value, from participating in the Diddy Sexual

21      Abuse and Cover Up Enterprise sex trafficking venture.
22   475.      Defendants had actual knowledge that they were aiding, abetting, and
23
        inducing Defendant Diddy and his co-conspirators9 sexual abuse and sex trafficking
24
        conspiracy to recruit, solicit, entice, coerce, harbor, transport, obtain, and provide
25
26      Plaintiffs into nonconsensual sex acts, through the means of force, threats of force,
27

28

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 1      fraud, abuse of process, and coercion. Defendants knew, and should have known,
 2
        that Defendant Diddy had engaged in acts in violation of the TVPA.
 3
     476.      Defendants knowing and intentional conduct of aiding, abetting, and
 4
 5      inducing Defendant Diddy9s violations have caused Plaintiffs serious harm

 6      including, without limitation, physical, psychological, emotional, financial, and
 7
        reputational harm.
 8
     477.      Through their unchecked support Defendants aided, abetted, and induced
 9

10      Defendant Diddy9s violations and caused Plaintiffs harm that is sufficiently serious,

11      under all the surrounding circumstances, to compel a reasonable person of the same
12
        background and in the same circumstances to perform or to continue performing
13
        nonconsensual sexual activity, in order to avoid incurring additional harm.
14

15
     478.      Defendants9 criminal conduct in aiding, abetting, and inducing Defendant

16      Diddy9s violations of the TVPA was outrageous and intentional, because it was in
17      deliberate furtherance of a widespread and dangerous Diddy Sexual Abuse and
18
        Cover Up Enterprise and criminal sex trafficking organization. Defendants9 criminal
19
20
        conduct also evinced a high degree of moral turpitude and demonstrated such

21      wanton dishonesty as to imply a criminal indifference to civil obligations.
22      Defendants criminal conduct was directed specifically at Plaintiffs, who were the
23
        victims of Defendant Diddy9s sexual abuse and Cover Up sex trafficking
24
        organization.
25
26

27

28

                                    Page 76 of 87
 1    479.      Defendants9 outrageous and intentional conduct in this case is part of a
 2
         pattern and practice of Defendants by profiting by undertaking illegal <high risk,
 3
         high reward= partnerships.
 4
 5    480.      By virtue of these knowing and intentional violations of 18 U.S.C. § 1590

 6       and 1595, Defendants are liable to Plaintiffs for the damages they sustained and
 7
         reasonable attorneys9 fees.
 8
      481.      By virtue of these intentional and outrageous violations of 18 U.S.C. § 1590
 9

10       and 1595, Defendants are liable to Plaintiffs for punitive damages.

11                  SEVENTEENTH CAUSE OF ACTION
         KNOWING BENEFICIARY IN A SEX-TRAFFICKING VENTURE IN
12   VIOLATION OF THE TRAFFICKING VICTIMS9 PROTECTION ACT, 18 U.S.C.
13                              §§ 1590 and 1595
                       (Plaintiffs Against All Defendants)
14

15
      482.      Plaintiffs incorporate by reference and reallege each of the preceding

16       paragraphs and all paragraphs below as though fully set forth and brought in this
17       cause of action.
18
      483.      Upon information and belief, Defendants knowingly and intentionally
19
20
         benefitted, financially and by receiving things of value, from participating in,

21       assisting, supporting, and facilitating an illegal coercive sex trafficking venture that
22       was in and affecting interstate and foreign commerce, together and with others, in
23
         violation of 18 U.S.C. § 1590.
24
      484.      Defendants took many concrete steps to aid and participate in Diddy9s Sexual
25
26       Abuse and Cover Up Enterprise sex trafficking venture. Among the concrete steps
27       that Defendants took to aid Defendant Diddy was providing victims to Defendant
28

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 1      Diddy, like Plaintiffs, as well as security, getaway driver, a private location to
 2
        engage in his debaucheries and drugs used to weaken Plaintiffs defenses making the
 3
        sex trafficking venture possible.
 4
 5   485.       Upon information and belief, Defendants roles and actions provided were

 6      necessary for Defendant Diddy to force Plaintiffs to engage in nonconsensual sex
 7
        acts.
 8
     486.       The financing to the Defendants in the Diddy Sexual Abuse and Cover Up
 9

10      Enterprise directly formed part of the commercial nature of the sex acts. Defendants

11      thusly actively participated in the recruitment of victims of the venture.
12
     487.       Defendants knew or should have known that they were feeding Defendant
13
        Diddy9s sexual deviancy.
14

15
     488.       Upon information and belief, Defendants received financial benefits from

16      Defendant Diddy and his sex trafficking venture, most notably a new car for
17      Defendant Shane and cash payments to Defendants KK, Brandi, Pelletier, Gonzalez,
18
        Valdez, Odell, Druski and Does.
19
20
     489.       Defendants knew that it would gain far from routine financial benefits by

21      participating in the Diddy Sexual Abuse and Cover Up Enterprise sex trafficking
22      venture.
23
     490.       By virtue of these knowing and intentional violations of 18 U.S.C. §§ 1590
24
        and 1595, Defendants are liable to Plaintiffs for the damages they sustained and
25
26      reasonable attorneys9 fees.
27

28

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 1                  EIGHTEENTH CAUSE OF ACTION
     OBSTRUCTION OF THE ENFORCEMENT OF THE TRAFFICKING VICTIM
 2
                  PROTECTION ACT, 18 U.S.C. § 1590(b)
 3                    (Plaintiffs Against All Defendants)

 4   491.      Plaintiffs incorporate by reference and reallege each of the preceding
 5
        paragraphs and all paragraphs below as though fully set forth and brought in this
 6
        cause of action.
 7
 8   492.      Defendants knowingly and intentionally obstructed, attempted to obstruct,

 9      interfered with, and prevented the enforcement of 18 U.S.C. § 1590 all in violation
10
        of 18 U.S.C. § 1590(b). This activity is hereinafter referred to collectively simply as
11
        <obstruction.=
12

13   493.      Upon information and belief, Defendants obstruction of the enforcement of

14      18 U.S.C. § 1590 was forbidden by 18 U.S.C. § 1590(b), thereby violating Chapter
15
        77, Title 18. Defendants9 obstruction described here and in the preceding paragraph
16
        directly, proximately, and foreseeably harmed Plaintiffs directly resulting in
17

18      Plaintiffs being forced against their will to engage in nonconsensual sex acts.

19   494.      Upon information and belief, Defendant Diddy has a well-documented
20
        history of criminal investigations. Defendants were on notice of Defendant Diddy9s
21
        proclivity to criminal activity. They knew or should have known that Defendant
22
23      Diddy9s Sexual Abuse and Cover Up Enterprise sex trafficking operation would or

24      could result in a criminal investigation by State and Federal prosecutors for
25
        violating (among other laws) the TVPA. Defendants should have taken a que from
26
        the Federal Prosecutors arrest and prosecution of Jeffrey Epstein. The U.S.
27

28      Attorney9s Office for the Southern District of New York indicted Epstein (and

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 1      unnamed <associates=) for violating the TVPA. Later, the same Office indicted
 2
        Epstein9s co-conspirator, Ghislaine Maxwell, for conspiracy to entice minor victims
 3
        to travel to be abused by Epstein. All named Defendants in this matter engaged in
 4
 5      the same activities as Mr. Epstein and Ms. Maxwell. In fact, Defendants may have

 6      done worse.
 7
     495.      Upon information and belief, by concealing their actions thereafter,
 8
        Defendants obstructed, interfered with, and prevented the State and Federal
 9

10      Government enforcement of the TVPA against Defendant Diddy to the extent that

11      the Federal Government was able to ultimately charge Defendant Diddy with TVPA
12
        violations, the filing of those charges was delayed by Defendants actions. Because
13
        of that delay, Plaintiffs were forced to engage in nonconsensual sex acts.
14

15
     496.      One example of how Defendants obstructed, attempted to obstruct, interfered

16      with, and prevented State and Federal Government9s enforcement of the TVPA,
17      Defendants provided resources to Defendant Diddy, like security, victims, drugs,
18
        getaway driver and false alibi9s so that the forced sex acts would escape the
19
20
        detection of State and Federal law enforcement and prosecuting agencies.

21      Defendants provided these resources to further the Diddy Sexual Abuse and Cover
22      Up Enterprise sex trafficking venture with the purpose of helping Defendant Diddy
23
        and the other Defendants in evading criminal liability for violating the TVPA.
24
     497.      By providing this type of support to Defendant Diddy, Defendants intended
25
26      and knew that Defendant Diddy9s depraved and egregiously forced sex acts would
27

28

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 1      escape the detection of law enforcement and prosecuting agencies for some period
 2
        of time.
 3
     498.      Defendants support furthered the Diddy Sexual Abuse and Cover Up
 4
 5      Enterprise sex trafficking venture with the purpose of helping Defendant Diddy

 6      evade criminal liability for violating the TVPA.
 7
     499.      Upon information and belief, Defendants obstruction, attempted obstruction,
 8
        interference with, and prevention of the enforcement of the TVPA were all done
 9

10      intentionally and knowingly. For example, Defendants knew that Defendant Diddy

11      was high risk4 specifically, high risk to violate the TVPA through continuing
12
        criminal sex trafficking activities due to his proximity to criminal activity as far
13
        back as 1991.
14

15
     500.      Upon information and belief, Defendants were aware and participated and

16      engaged in witness intimidation, and bribery to escape criminal liability. Including
17      offering Plaintiff money to say that the sexual abuse and rape she suffered was
18
        consensual and for Plaintiff to say she was a sex worker. Defendants were fully
19
20
        aware that there were public allegations that Defendant Diddy9s illegal conduct

21      made through complaints in previous lawsuits. Defendants concealed information
22      from the Federal Government in an intentional attempt to obstruct, in many ways
23
        interfered with, and prevented the enforcement of the TVPA by investigators and
24
        prosecuting agencies.
25
26   501.      Upon information and belief, Defendants relationship with Defendant Diddy
27      went far beyond a normal (and lawful) partnership, relationship and friendship.
28

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 1      Defendants knew, and intended, that its relationship with Defendant Diddy would
 2
        go far beyond a normal relationship. Defendants knew that its decision to go beyond
 3
        a normal employment and personal relationships with Defendant Diddy obstructed
 4
 5      the ability of law enforcement and prosecuting agencies to enforce the TVPA.

 6   502.      Upon information and belief, Defendants obstruction of the government9s
 7
        TVPA and other law enforcement efforts was intentional and willful and, therefore,
 8
        Defendants intentionally and willfully caused Defendant Diddy9s commission of the
 9

10      forcible sex acts with Plaintiffs through its obstruction supporting the concealment

11      of the Diddy Sexual Abuse and Cover Up Enterprise sex trafficking venture.
12
        Defendants knew that Defendant Diddy would use means of force, threats of force
13
        fraud, coercion, and a combination of such means to cause Plaintiff to engage in
14

15
        nonconsensual sex acts.

16   503.      Upon information and belief, Defendants knew, acted in reckless disregard of
17      the fact, and should have known, that its obstruction in violation of 18 U.S.C. §
18
        1590(b) would directly and proximately lead to unlawful and forceful sex acts by
19
20
        Defendant Diddy with individuals, like Plaintiffs.

21   504.      Upon information and belief, Defendants obstruction has caused Plaintiffs
22      serious harm, including, without limitation, physical, psychological, financial, and
23
        reputational harm. That harm was directly and proximately caused by the
24
        obstruction and the harm resulting from obstruction was foreseeable.
25
26   505.      Upon information and belief, Defendants obstruction has caused Plaintiffs
27      harm that is sufficiently serious, under all the surrounding circumstances, to compel
28

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 1      a reasonable person of the same background and in the same circumstances to
 2
        perform or to continue performing sexual activity to avoid incurring further harm.
 3
     506.      Upon information and belief, Defendants criminal conduct in obstructing
 4
 5      enforcement of the TVPA was outrageous and intentional because it was in

 6      deliberate furtherance of a widespread and dangerous criminal sex trafficking
 7
        organization.
 8
     507.      Defendants9 obstruction also evinced a high degree of moral turpitude and
 9

10      demonstrated such wanton dishonesty as to imply a criminal indifference to civil

11      obligations. Defendants9 actions were directed specifically at Plaintiffs who were
12
        the victims of the Diddy Sexual Abuse and Cover Up Enterprise sex trafficking
13
        organization.
14

15
     508.      By virtue of these violations of 18 U.S.C. § 1590(b), Defendants are liable to

16      Plaintiffs for the damages they sustained and reasonable attorneys9 fees by operation
17      of 18 U.S.C. § 1595. Defendants perpetrated an obstruction of the TVPA, and
18
        therefore perpetrated a violation of Chapter 77, Title 18.
19
                           NINETEENTH CAUSE OF ACTION
20
                                FALSE IMPRISONMENT
21                           (Plaintiffs Against All Defendants)
22   509.      Plaintiffs incorporate by reference and reallege each of the preceding
23
        paragraphs and all paragraphs below as though fully set forth and brought in this
24
        cause of action.
25
26   510.      Defendants intentionally detained, and/or prevented Plaintiffs from leaving
27      the premises therefore imprisoning Plaintiffs acting in deliberate malice and for the
28

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 1      purpose of trafficking and/or sexually assaulting and raping Plaintiffs. Defendants
 2
        imprisoned Plaintiffs without just or reasonable cause, without lawful privilege,
 3
        without Plaintiffs9 consent, and/or without probable cause for an appreciable amount
 4
 5      of time; and therefore, deprived Plaintiffs of their personal civil liberties.

 6      Defendants9 unlawful conduct resulted in the false imprisonment of Plaintiffs on
 7
        March 23, 2018.
 8
     511.      Plaintiff Parham was invited to Defendant Shane9s home as a guest. Plaintiff
 9

10      was under the impression she was in a safe environment where only she and

11      Defendant Shane would be present.
12   512.      On or about the date enumerated above, Plaintiff Parham9s clothes, phone,
13
        purse, keys and cell phone were hid and confiscated in an effort to prevent her from
14

15
        leaving the premises after Defendant Diddy and the other Defendants arrived at

16      Defendant Shane9s residence.
17   513.      Defendants forced Plaintiff Parham, against her will and over her protest,
18
        with threats of physical violence forced Plaintiff to engage in nonconsensual sexual
19
20
        activities with Defendants Diddy, Shane, Odell, Druski and Doe.

21   514.      Defendants forced Plaintiffs Does, against their will and over their protest,
22      with threats of physical violence trafficked, battered, assaulted and abused Plaintiffs.
23
     515.      Plaintiffs were not released from their imprisonment until they made their
24
        harrowing escape as enumerated above in this Complaint.
25
26   516.      Plaintiffs believe that procuring their false imprisonment was made
27      intentionally, with actual malice, and was intended to harm Plaintiffs solely for
28

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 1      purpose of the sexual gratification of Defendant Diddy and in furtherance of the
 2
        Diddy Sexual Abuse and Cover Up Enterprise .
 3
     517.      Malice is attributable to Defendant Diddy9s actions as a joint tortfeasor in
 4
 5      that he joined and facilitated the false imprisonment and maliciously instigated it.

 6      Malice is further attributable to Defendants Gonzalez, Valdez, Jaguar and Helena as
 7
        security personnel for Defendant Diddy whose actions independently based on the
 8
        fact that Defendant Diddy wanted to prevent Plaintiffs from being able to escape.
 9

10   518.      As a legal result of Defendants9 actions, Plaintiffs were physically, mentally

11      and/or emotionally injured, all to an extent and in an amount subject to proof at trial.
12   519.      Defendants acted with malice and with the intent to cause injury to Plaintiffs
13
        or acted with a willful and conscious disregard of the rights of Plaintiffs in a
14

15
        despicable manner. In addition, Defendants engaged in despicable conduct that

16      subjected Plaintiffs to cruel and unjust hardship in conscious disregard of their
17      rights. Therefore, Plaintiffs are entitled to an award of punitive damages for the
18
        purpose of punishing those individual Defendants to deter them and others from
19
20
        such conduct in the future.

21   520.      As a proximate result of the acts of the Defendants, Plaintiffs have suffered
22      great damage to their person, reputation and embarrassment.
23
     521.      As an approximate results of the acts of Defendants, each of them herein
24
        alleged, Plaintiffs have been and will continue to be prevented from having a normal
25
26      life. The amount of damage done to Plaintiffs are still ongoing and not fully known
27      at this time.
28

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 1      522.        As an additional approximate result of the acts of Defendants, Plaintiffs were
 2
            injured and their health, strength and activity, sustained shocking injury to their
 3
            person and injury to their body, requiring several hospitalizations, treatments from
 4
 5          therapists and other medical professionals. All of these injuries have caused

 6          Plaintiffs to suffer extreme and physical severe physical pain and mental anguish.
 7
            These injuries will result in some level of permanent disability to the Plaintiffs.
 8
        523.        As a further proximate result of the acts of Defendants, Plaintiffs were
 9

10          required to and did employ physicians, therapists and other medical professionals

11          including hospitalizations for medical examinations, treatment, and care for the
12
            injuries resulting from this experience. Plaintiffs did and will incur medical and
13
            incidental expenses for the services.
14

15
        524.        The acts of Defendants, each of them herein alleged, were willful, wanton,

16          malicious and oppressive, justifying the awarding of punitive damages.
17                                    REQUEST FOR RELIEF
18
            WHEREFORE, Plaintiffs respectfully request judgment against Defendants,
19
20
     awarding compensatory, consequential, exemplary, punitive, restitution, unjust enrichment,

21   equitable, and treble damages in an amount to be determined at trial; costs of suit;
22   attorneys9 fees; and such other and further relief as the Court may deem just and proper.
23

24                                 DEMAND FOR JURY TRIAL
25
            Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiff demands a trial by jury
26
     on all issues so triable.
27

28   Dated: March 7, 2025                                             Respectfully submitted,

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